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                                 Exhibit A-18
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                            (A-18 - Offshore  LehmanFOR
                                        INSTRUCTIONS Brothers
                                                        PROOF Deriv. Prod.FORM
                                                               OF CLAIM    Inc.) Pg 3 of 96
 The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there may
                                                                     be exceptions to these general rules.
                                                              Items to be completed in Proof of Claim form
Name of Debtor, and Case Number:                                                                                    4. Secured Claim:
YOU MUST INDICATE THE SPECIFIC DEBTOR AGAINST WHICH YOUR CLAIM IS ASSERTED,                                         Check the appropriate box and provide the requested information if the claim is fully or
INCLUDING THE THE NAME OF THE DEBTOR AND THE RELATED CASE NUMBER (DEBTORS                                           partially secured. Skip this section if the claim is entirely unsecured. (See
AND CASE NUMBERS LISTED BELOW), IN THE SPACE ALLOTTED AT THE TOP OF THE                                             DEFINITIONS, below.) State the type and the value of property that secures the claim,
CLAIM FORM.                                                                                                         attach copies of lien documentation, and state annual interest rate and the amount past
 08-13555 Lehman Brothers Holdings Inc.                 08-13905 CES Aviation LLC                                   due on the claim as of the date of the bankruptcy filing.
 08-13600 LB 745 LLC                                    08-13906 CES Aviation V LLC                                 5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a).
 08-13885 Lehman Brothers Commodity Services            08-13907 CES Aviation IX LLC                                If any portion of your claim falls in one or more of the listed categories, check the
             Inc.                                                                                                   appropriate box(es) and state the amount entitled to priority. (See DEFINITIONS,
 08-13888 Lehman Brothers Special Financing Inc. 08-13908 East Dover Limited                                        below.) A claim may be partly priority and partly non-priority. For example, in some of
 08-13893 Lehman Brothers OTC Derivatives Inc. 09-10108 Luxembourg Residential Properties                           the categories, the law limits the amount entitled to priority.
                                                                     Loan Finance S.a.r.l.
 08-13899 Lehman Brothers Derivative Products           09-10137 BNC Mortgage LLC                                   6. Amount of Claim that qualifies as an Administrative Expense under 11 U.S.C.
             Inc.                                                                                                   §503(b)(9)
 08-13900 Lehman Commercial Paper Inc.                  09-10558 Structured Asset Securities                        State the value of any goods received by the debtor within 20 days before the date of
                                                                     Corporation                                    commencement in which the goods have been sold to the debtor in the ordinary course
 08-13901 Lehman Brothers Commercial                    09-10560 LB Rose Ranch LLC                                  of the debtor’s business.
             Corporation                                                                                            7. Credits:
 08-13902 Lehman Brothers Financial Products Inc. 09-12516 LB 2080 Kalakaua Owners LLC                              An authorized signature on this proof of claim serves as an acknowledgment that when
 08-13904 Lehman Scottish Finance L.P.                  08-13664 PAMI Statler Arms LLC                              calculating the amount of the claim, the creditor gave the debtor credit for any
If your Claim is against multiple Debtors, complete a separate form for each Debtor.                                payments received toward the debt.
Creditor’s Name and Address:                                                                                        8. Documents:
Fill in the name of the person or entity asserting a claim and the name and address of the person who should        Attach to this proof of claim form redacted copies documenting the existence of the
receive notices issued during the bankruptcy case. A separate space is provided for the payment address if it       debt and of any lien securing the debt. You may also attach a summary. You must also
differs from the notice address. The creditor has a continuing obligation to keep the court informed of its         attach copies of documents that evidence perfection of any security interest. You may
current address. See Federal Rule of Bankruptcy Procedure (FRBP) 2002(g).                                           also attach a summary. FRBP 3001(c) and (d). Do not send original documents, as
1. Amount of Claim as of Date Case Filed:                                                                           attachments may be destroyed after scanning.
State the total amount owed to the creditor on the date of the Bankruptcy filing. Follow the instructions           Date and Signature:
concerning whether to complete items 4, 5 and 6. Check the box if interest or other charges are included in         The person filing this proof of claim must sign and date it. FRBP 9011. If the claim is
the claim.                                                                                                          filed electronically, FRBP 5005(a)(2), authorizes courts to establish local rules
2. Basis for Claim:                                                                                                 specifying what constitutes a signature. Print the name and title, if any, of the creditor
State the type of debt or how it was incurred. Examples include goods sold, money loaned, services                  or other person authorized to file this claim. State the filer’s address and telephone
performed, personal injury/wrongful death, car loan, mortgage note, and credit card.                                number if it differs from the address given on the top of the form for purposes of
3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                                              receiving notices. Attach a complete copy of any power of attorney. Criminal penalties
State only the last four digits of the debtor’s account or other number used by the creditor to identify the        apply for making a false statement on a proof of claim.
debtor.
      3a. Debtor May Have Scheduled Account As:
      Use this space to report a change in the creditor’s name, a transferred claim, or any other information
      that clarifies a difference between this proof of claim and the claim as scheduled by the debtor.
                                         _________D E F I N I T I O N S _________                                                                _________I N F O R M A T I O N _________
Debtor                                                                Redacted                                                             Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other entity that has filed   A document has been redacted when the person filing it has           To receive acknowledgment of your filing, you
a bankruptcy case.                                                    masked, edited out, or otherwise deleted, certain information.       may either enclose a stamped self-addressed
Creditor                                                              A creditor should redact and use only the last four digits of any    envelope and a copy of this proof of claim, or you
A creditor is the person, corporation, or other entity owed a         social-security, individual’s tax identification, or financial-      may access the Claims Agent's system (http://www.lehman-
debt by the debtor on the date of the bankruptcy                      account number, all but the                                          docket.com) to view
filing.                                                               initials of a minor’s name and only the year of any person’s
                                                                                                                                           your filed proof of claim.
                                                                      date of birth.
Claim                                                                                                                                      Offers to Purchase a Claim
A claim is the creditor’s right to receive payment on a debt that     Evidence of Perfection
                                                                      Evidence of perfection may include a mortgage, lien, certificate     Certain entities are in the business of purchasing claims for
was owed by the debtor on the date of the bankruptcy filing.                                                                               an amount less than the face value of the claims. One or
See 11 U.S.C. §101 (5). A claim may be secured or unsecured.          of title, financing statement, or other document showing that
                                                                      the lien has been filed or recorded.                                 more of these entities may contact the creditor and offer to
Proof of Claim                                                                                                                             purchase the claim. Some of the written communications
A proof of claim is a form used by the creditor to indicate the       Derivative Contract
                                                                                                                                           from these entities may easily be confused with official
amount of the debt owed by the debtor on the date of the              A contract that is any of (i) a “swap agreement” as such term is
                                                                      defined in section 101(53B) of the Bankruptcy Code or (ii) a         court documentation or communications from the debtor.
bankruptcy filing. The creditor must file the form with the                                                                                These entities do not represent the bankruptcy court or the
Claims Agent at the following address:                                “forward contract” as such term is defined in section 101(25)
                                                                      of the Bankruptcy Code. A cash-market purchase or sale of a          debtor. The creditor has no obligation to sell its claim.
Lehman Brothers Holdings Claims Processing                                                                                                 However, if the creditor decides to sell its claim, any
c/o Epiq Bankruptcy Solutions, LLC                                    security or loan (i.e. any purchase or sale of a security or loan
                                                                      for settlement within the standard settlement cycle for the          transfer of such claim is subject to FRBP 3001(e), any
FDR Station, PO Box 5076
New York, NY 10150- 5076                                              relevant market), exchange-traded future or option, securities       applicable provisions of the Bankruptcy Code (11 U.S.C. §
                                                                      loan transaction, repurchase agreement in respect of securities      101 et seq.), and any applicable orders of the bankruptcy
Secured Claim Under 11 U.S.C. §506(a)                                 or loans, and any guarantee or reimbursement obligations             court.
A secured claim is one backed by a lien on property of the            which would otherwise be included in the definition of such
debtor. The claim is secured so long as the creditor has the          terms in the Bankruptcy Code shall not be considered a
right to be paid from the property prior to other creditors. The      Derivative Contract for the purposes of this definition nor shall
amount of the secured claim cannot exceed the value of the            any notes, bonds, or other securities issued by the Debtors or
property. Any amount owed to the creditor in excess of the            their affiliates (including, but not limited to, Lehman Brothers
value of the property is an unsecured claim. Examples of liens        Holdings Inc., Lehman Brothers Treasury Co. B.V., Lehman
on property include a mortgage on real estate or a security           Brothers Bankhaus AG, Lehman Brothers Holdings plc,
interest in a car. A lien may be voluntarily granted by a debtor      Lehman Brothers Securities N.V., and Lehman Brothers
or may be obtained through a court proceeding. In some states,        (Luxembourg) Equity Finance S.A.).
a court judgment is a lien. A claim also may be secured if the
creditor owes the debtor money (has a right to setoff).               Guarantee
                                                                      A promise, representation or agreement to answer for the
Unsecured Claim                                                       payment of some debt or the performance of some duty in case
An unsecured claim is one that does not meet the requirements         of the failure of another person or entity who is liable in the
of a secured claim. A claim may be partly unsecured if the            first instance.
amount of the claim exceeds the value of the property on which
the creditor has a lien.                                              Lehman Programs Securities
                                                                      Lehman Programs Securities means those securities included
Claim Entitled to Priority Under 11 U.S.C. §507(a)                    on the Lehman Programs Securities list available on
Priority claims are certain categories of unsecured Claims that       http://www.lehman-docket.com as of July 27, 2009.
are paid from the available money or property in a bankruptcy
case before other unsecured claims.
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                               ATTACHMENT TO PROOF OF CLAIM OF
                             STONEHILL OFFSHORE PARTNERS LIMITED


           Stonehill Offshore Partners Limited ("Claimant") hereby files this claim (the Proof of

Claim Form together with this Attachment are referred to herein as the "Claim") in the chapter

11 case of Lehman Brothers Derivative Products Inc. (the “Debtor”) and, in support of the

Claim, represents as follows:

                                                     Background

           1.       Claimant is a private investment fund organized as an exempted company

under the laws of the Cayman Islands. Stonehill Capital Management LLC ("SCM") is

Claimant's investment adviser and an authorized signatory for Claimant.

           2.       Prior to the commencement of these chapter 11 cases, Claimant had

various business relationships with and was party to a number of agreements with the Debtor

and its affiliates. A description of certain of these business relationships and agreements and the

claims of Claimant against the Debtor arising thereunder is set forth below.1

                                                  Prime Brokerage

           3.       Lehman Brothers Inc. ("LBI"), an affiliate of the Debtor currently in a

liquidation proceeding (the "SIPA Proceeding") under the Securities Investment Protection Act

of 1970, as amended ("SIPA"), was Claimant's sole prime broker until September 17, 2008, two

days before commencement of the SIPA Proceeding. Claimant was party to a Customer

Account Prime Brokerage Agreement (Account No.: 732-40125) (the "PB Agreement")

between Claimant and LBI "as signatory for itself and as agent for the affiliates named

1
           Stonehill Institutional Partners, L.P., an affiliate of Claimant, was also a party to a number of agreements
           with the Debtor and its affiliates and has filed separate proofs of claim in these cases. SCM was a signatory
           for Claimant for various agreements in its capacity as investment adviser and authorized signatory of
           Claimant.



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herein." The PB Agreement (Paragraph 1) provides that the parties to the PB Agreement

consist of Claimant and "Lehman Brothers Inc., Lehman Brothers International (Europe),

Lehman Brothers Finance S.A., Lehman Brothers Special Financing Inc., Lehman Brothers

Holdings Inc. ("LBHI") and any of their subsidiaries, parents, affiliates, divisions, officers,

directors, agents and employees now existing or hereafter created." Such entities are defined

as and referred to throughout the PB Agreement collectively and interchangeably as "Lehman

Entities" and "Lehman Brothers" and are referred to interchangeably in this Claim as

"Lehman Entities" or "Lehman Brothers" (which terms include the Debtor).

       4.       Although paragraph 21 of the PB agreement refers specifically to “LBI” in

connection with prime brokerage services, LBI acted as agent for and signed on behalf of the

other Lehman Entities in that capacity. Paragraph 4 of the PB Agreement states that the

Claimant “and Lehman Brothers intend this agreement to be a master netting agreement,”

which is an additional indication that the parties intended all Lehman Entities to share in the

benefits and burdens of the PB Agreement. In the LBI Trustee’s Preliminary Investigation

Report and Recommendations, dated August 25, 2010 (the “Trustee’s Report”), the Trustee

noted that prime brokerage customer account agreements “included all Lehman entities as

parties for certain purposes such as subjecting property in the account to claims and liens.”

(Trustee’s Report at p. 46). By becoming parties to the PB Agreement and availing themselves

of the benefits of the PB Agreements, including by imposing claims and liens on customer

property, the Debtors and other Lehman Entities also obligated themselves under such

agreement on a joint and several basis with LBI.

       5.       Thus, the Debtor and its affiliated debtors and debtors-in-possession were

parties to the PB Agreement. LBHI had the ability to influence and control LBI, its wholly-




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owned subsidiary, as well as the other Lehman Entities including with respect to the Lehman

Entities’ obligations under the Prime Brokerage Agreement. Having reaped the benefits of

the PB Agreement, LBHI, the Debtor and its affiliated debtors-in-possession must remain

bound by their obligations and liabilities thereunder. As a party to the PB Agreement, the

Debtor is fully liable for all amounts owed to Claimant in connection with the PB Agreement.

A copy of the PB Agreement is attached to this Claim as Exhibit A.

       6.       As Claimant’s sole prime broker and pursuant to the PB Agreement, LBI had

custody of a substantial portion of Claimant's assets, including both cash and securities, and

was "responsible for settling trades executed on [Claimant's] behalf by [Claimant's] executing

broker(s)." (PB Agreement, Paragraph 21(b)). In addition, the PB Agreement authorized

"Lehman Brothers to lend either to itself or to others any securities held by Lehman Brothers

in any of [Claimant's] accounts" but provided that Claimant "will be entitled to receive all

distributions, including, but not limited to, cash . . . made on or in respect of any loaned,

pledged, repledged, hypothecated or rehypothecated securities." (PB Agreement Paragraph

19). As a regulated broker dealer and by virtue of course of conduct among the parties,

industry practice and custom, and an implied duty of good faith and fair dealing, LBI (as well

as the other Lehman Entities) also had obligations implied by law to Claimant not

specifically enumerated in the PB Agreement. The failure of LBI to return Claimant’s cash

and securities therefore constituted a breach of the PB Agreement by the Debtor and the other

Lehman Entities.

       7.       On January 26, 2009, Claimant filed a proof of claim in the SIPA Proceeding

asserting various claims – categorized as “components” of the claim against LBI under SIPA

(the “SIPA Claim”). A copy of the SIPA Claim is attached to this Claim as Exhibit B.




                                                 3
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Between the commencement of the SIPA Proceeding and the date of this Amendment,

virtually all of Claimant’s securities and cash held at LBI have been returned to Claimant

pursuant to a Notice of SIPA Trustee’s Determination of Claim (SIPA Claim No.

900002114) dated March 23, 2010 (as corrected on June 4, 2010), Schedule A to the SIPA

Trustee’s Distribution Notice dated June 27, 2013 (as corrected on August 22, 2013), and a

Declaration, Release and Assignment entered into by Claimant on September 5, 2013

(collectively, the “SIPA Claim Determination”).

         8.       Pursuant to the SIPA Claim Determination, all of the components of the SIPA

Claim have been resolved other than Component 8, which represents an aggregate of

$6,135,929.26 in losses as of September 19, 2008, on foreign currency hedges entered into

under the PB Agreement,2 and component 10, pursuant to which Claimant fully reserved the

right to seek interest that may be payable or claimable on cash balanced, additional

misdirected wires, and/or other amounts that may have been received by LBI or other

Lehman Entities. Component 8 of Claimant’s SIPA claim arising from foreign currency

hedges has not yet been admitted as a general unsecured claim in LBI’s SIPA proceeding

although it may be so admitted in the future.

         9.       In addition, the Debtor and the Lehman Entities are obligated to Claimant for

damages, interest, costs, attorneys' fees, including, but not limited to the amount

representing the diminution in value of the securities held by LBI under the PB Agreement

from the date in which LBI’s SIPA Proceeding was commenced through the date that such

securities were returned to Claimant. The PB Agreement obligated the Debtor and the

Lehman Entities to provide services consistent with the SEC’s guidelines on prime brokerage

2
         Although Claimant believes that LBI may have been the only Lehman entity directly involved with the
         foreign currency hedges, such hedges were entered into under the PB Agreement and are therefore
         obligations of all of the “Lehman Entities”, as noted above.


                                                       4
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relationships (PB Agreement Paragraph 21(l)). It is an established element of the brokerage

relationship that a broker-dealer must promptly return the securities upon request and,

pursuant to the terms of the PB Agreement, the Debtor and all the Lehman Entities were

made jointly and severally liable for any breach of the obligation to return securities.3

Therefore, the Debtor and the Lehman Entities were responsible, separate and apart from

LBI’s obligations as a broker-dealer subject to SIPA regulation (and notwithstanding any

limitation under SIPA with respect to such a diminution in value claim), for the prompt

return of the securities to Claimant upon request when LBI commenced its SIPA Proceeding,

and must repay Claimant for Claimant’s losses due to the failure to return the securities or

cause the securities to be returned.

         10.      A further basis for the diminution in value claim is that LBI and the Lehman

Entities were required under state law to act in accordance with their respective obligations

as a bailees of the securities, and therefore to return the securities to Claimant (PB

Agreement Paragraph 3). Under New York law, which governs the PB Agreement, a bailee

has a duty to return goods to a bailor and is liable for loss or damage to the goods. LBI was

further obligated to hold the securities as financial assets under Article 8 of the Uniform

Commercial Code (PB Agreement Paragraph 3), which entitles the owners of securities to

have property that is held in a security account protected from the intermediary’s other

creditors.

         11.      The current amount owed for diminution in value of returned securities has

been calculated by Claimant to be at least $80,523,963. The calculation of this amount is



3
         Such breach rose to the level of gross negligence and/or willful misconduct and therefore was not subject to
         the limitation on liability set forth in Paragraph 30 of the PB Agreement.



                                                         5
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shown on the spreadsheet attached to this Claim as Exhibit C.4 This amount, plus the amount

owing on component 8 of the SIPA Claim, gives an aggregate Claim amount equal to

approximately $86,659,892.26.

         12.               In addition to the bases for asserting the Claim against the Debtors

described above, the amounts owed under the PB Agreement discussed above are also

recoverable by Claimant as a result of willful and material misrepresentations made by and/or

on behalf of the Lehman Entities regarding their financial position and related matters, both

publicly5 and by a senior representative of the Lehman Entities directly to SCM, Claimant's

investment adviser. Such misrepresentations induced Claimant (and likely induced similarly

situated customers and counterparties of the Lehman Entities) to refrain from terminating

Claimant's prime brokerage (and other counterparty) relationships with the Lehman Entities.

         13.               During a phone call held in early September 2008, shortly before the

Lehman chapter 11 filing and the commencement of the SIPA Proceeding, Mr. John

Wickham, believed to be head of Lehman Brothers Global Client Services and acting as a

representative of the Lehman Entities, called John Motulsky of SCM in response to Mr.

Motulsky's voicemail message to Alex Kirk, believed to then be a senior officer of LBHI,

asking about the Lehman Entities' financial stability, specifically in connection with the



4
         The diminution in value claim is based on the difference in value of securities held at LBI as of the close of
         business on September 12, 2008, the last business day before the commencement of these cases and the last
         date on which Claimant was able to obtain its securities from LBI, and the date such securities were
         returned. Claimant does not mark its portfolio on a daily basis and prices for the securities in Claimant’s
         portfolio, other than those that trade on public markets, are not available on a daily basis. Therefore, other
         than with respect to publicly traded securities, Claimant used the value of the securities as of the last
         valuation date prior to September 12, 2008 and the date of return, as applicable.
5
         For example, on an earnings call on September 10, 2008, five days prior to LBHI’s chapter 11 filing,
         Lehman Brothers’ CFO at the time, Ian Lowitt, stated regarding Lehman Brothers’ liquidity position that
         “our liquidity position… remains very strong.”



                                                          6
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Lehman Entities' prime brokerage and other commercial relationships with Claimant and its

affiliates.

        14.              In response to questions and concerns expressed by Mr. Motulsky

regarding the Lehman Entities' financial strength and viability, Mr. Wickham sought to reassure

Claimant (through SCM and Mr. Motulsky) regarding the Lehman Entities' financial condition

and the stability of its prime brokerage operation. Mr. Motulsky recalls that Mr. Wickham stated

that Lehman had adequate liquidity because unlike Bear Stearns it prudently financed its

customers with matched funding and had sufficient liquidity from sources it believed to be

reliable to meet all of its obligations for a year even if no new financing was available, that it

had $12 billion of surplus cash, and also cited the availability of secured financing from the

federal reserve, none of which was used.

        15.              Mr. Motulsky also recalls that Mr. Wickham stated that Lehman's

unrealized appreciation in various assets (one of which was Neuberger Berman, half of

which Mr. Wickham stated might soon be sold at a profit to realize value and add to tangible

equity) were more than sufficient to cover possible unrealized losses in its portfolio and

provide incremental equity that would be required for a planned spinout of most of Lehman's

commercial real estate portfolio, and conveyed a message that Lehman Brothers' prime

brokerage operation would continue operating in the normal course, and that Claimant

should be comfortable continuing its customer and counterparty relationship with Lehman

Brothers.6 A few days after this conversation the Debtor commenced this chapter 11 case

and LBI commenced its SIPA Proceeding.


6
        Many of Mr. Wickham’s comments appeared to be taken from talking points Mr. Wickham received from
        the Lehman Entities for communications with customers, rather than being “off the cuff” remarks of Mr.
        Wickham’s personal views regarding Lehman’s financial condition.



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       16.            As a result of the material misrepresentations by Lehman Brothers and its

representatives to the public, and by Mr. Wickham, who acted with apparent authority on behalf

of LBHI and its affiliates, to SCM, Lehman Brothers and their representatives succeeded in

persuading the Claimant to refrain from demanding the return of its assets held by LBI and other

Lehman Entities and otherwise taking actions to promptly reduce its commercial exposure to

Lehman Brothers prior to the effective curtailment of LBI' s normal operations and the

subsequent commencement of the SIPA Proceeding.

       17.            Thus, by virtue of the public misrepresentations of Lehman Brothers and

private misrepresentations by Mr. Wickham, Lehman Brothers' agent, directly to SCM, which

misrepresentations were intended for the benefit of the Lehman Entities to convince Lehman

Brothers' customers and counterparties in general and SCM in particular of the financial stability

and health of Lehman Brothers despite the fact that Lehman Brothers' officers knew or should

have known that there were substantial risks that Lehman Brothers' liquidity and capital may

not continue to support its operations, the Lehman Entities, including the Debtor, are fully

liable for any and all direct, indirect, nominal or consequential damages incurred by Claimant

in connection with the PB Agreement or otherwise arising in connection with Claimant's

prime brokerage and counterparty relationship with Lehman Brothers, including the claim

arising from diminution in value of securities that were not timely returned to Claimant.

       18.            Claimant is entitled to assert and is asserting against the Lehman Entities,

including the Debtor, the full amount of claims arising under or relating to the PB Agreement,

provided that Claimant may not recover more than 100% of the amount of such claims.




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                                       Reservation of Rights

       19.             No payments have been made to Claimant on account of the claims

asserted herein.

       20.             Claimant reserves all of its rights to supplement or amend this Claim in

any and all respects, including to liquidate amounts which are presently unliquidated or

estimated.

       21.             In the event that the Debtor or any of the other debtors assert or Claimant

shall determine that another debtor or other party is obligated or liable for any of the categories

of claims and amounts set forth herein, this Claim shall be deemed to have been asserted against

such other debtor or other party for such category and amount.

       22.             To the extent not set forth in this Claim, Claimant also makes claim for

all direct, indirect, nominal or consequential damages, interest, costs, attorneys' fees, and

other amounts owed or owing to it, to the extent recoverable under the applicable agreement

and/or applicable law, whether or not liquidated, unliquidated, fixed, contingent, matured,

unmatured, disputed, undisputed, in law or equity, secured or unsecured, directly or

indirectly related to the matters discussed in this Claim. Claims for amounts asserted herein

which are or could be deemed to be postpetition interest under the Bankruptcy code are

asserted to the extent allowed under the Bankruptcy Code and applicable non-bankruptcy

law.

       23.             The filing of the Claim is not and shall not be deemed or construed as

consent by Claimant to the jurisdiction of this Court or any other court with respect to

proceedings, if any, commenced in any case against or otherwise involving Claimant.




                                                  9
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       24.             Neither the substance nor the act of filing this claim, nor any later

appearance, pleading, claim, or action in these cases, is intended or shall be deemed to be a

waiver, release, or modification by Claimant of its (a) right to have final orders in non-core

matters entered after de novo review by a District Judge; (b) right to trial by jury in any

proceeding so triable in this case or any case, controversy or proceeding related to these cases;

(c) rights under the applicable safe harbor provisions of the Bankruptcy Code; (d) right to seek

to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (e) other rights, remedies, claims, actions, defenses, setoffs or

recoupments to which Claimant is or may be entitled, all of which are hereby expressly

reserved.




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                               EXHIBIT A
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
                    44024         Filed 08/05/14
                            Filed 04/16/14         Entered
                                             Entered        08/05/14
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                                                               20:01:16        Exhibit
                                                                          Main Document
           (A-18 - Offshore Lehman Brothers    Deriv.
                                         Pg 16 of 99  Prod. Inc.)  Pg 15 of 96
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
                    44024         Filed 08/05/14
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           (A-18 - Offshore Lehman Brothers    Deriv.
                                         Pg 17 of 99  Prod. Inc.)  Pg 16 of 96
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
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           (A-18 - Offshore Lehman Brothers    Deriv.
                                         Pg 18 of 99  Prod. Inc.)  Pg 17 of 96
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
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           (A-18 - Offshore Lehman Brothers    Deriv.
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   08-13555-mgDoc
08-13555-scc      Doc  45573-18
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           (A-18 - Offshore Lehman Brothers    Deriv.
                                         Pg 20 of 99  Prod. Inc.)  Pg 19 of 96
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
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           (A-18 - Offshore Lehman Brothers    Deriv.
                                         Pg 21 of 99  Prod. Inc.)  Pg 20 of 96
   08-13555-mgDoc
08-13555-scc      Doc  45573-18
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           (A-18 - Offshore Lehman Brothers    Deriv.
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   08-13555-mgDoc
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                                         Pg 25 of 99  Prod. Inc.)  Pg 24 of 96
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                               EXHIBIT B
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                               EXHIBIT C
Internal                                                                        08-13555-mg Doc 45573-18              Filed
                                                                                                       9/12/2008 8/31/08      08/05/14
                                                                                                                          Price  Trading        Entered 08/05/14 14:51:02Off MV on      Off MVExhibit
                                                                                                                                                                                                 on                                                                         SI MV on         SI MV on
ID
KGENY
               CUSIP
             49373X103
                          Description
                          KGEN PWR CORP COM 144A
                                                                                        (A-18 - Offshore0.0000
                                                                                                         Price
                                                                                                              Lehman
                                                                                                                  Price
                                                                                                                          Brothers
                                                                                                                           used   Unit
                                                                                                                                         Deriv.
                                                                                                                                         Factor CCY
                                                                                                                                                   Prod.
                                                                                                                                                     FX
                                                                                                                 15.0000 15.0000 1.0000 1.0000 USD 1.0000
                                                                                                                                                          Inc.)
                                                                                                                                                             Off Qty
                                                                                                                                                          2,718,868.00
                                                                                                                                                                       Pg   93     of
                                                                                                                                                                          filing date
                                                                                                                                                                                      96
                                                                                                                                                                                       transfer date   Off P&L
                                                                                                                                                                        40,783,020.00 27,188,680.00 (13,594,340.00)
                                                                                                                                                                                                                                                             SI Qty
                                                                                                                                                                                                                                                          1,866,236.00
                                                                                                                                                                                                                                                                            filing date
                                                                                                                                                                                                                                                                         27,993,540.00
                                                                                                                                                                                                                                                                                           transfer date
                                                                                                                                                                                                                                                                                          18,662,360.00
                                                                                                                                                                                                                                                                                                               SI P&L
                                                                                                                                                                                                                                                                                                           (9,331,180.00)
                                                                                                                                                                                                                                                                                                                                 total
                                                                                                                                                                                                                                                                                                                            (22,925,520.00)
5489304     92923CAG9     WCI COMMUNITIES INC GTD SENIOR SUB NOTE 9.125% 5/1/2012 92923CAG9                            39.0000    35.0000    35.0000   0.0100   1.0000   USD   1.0000   14,645,000.00    5,125,750.00     219,675.00    (4,906,075.00)   14,309,000.00    5,008,150.00      214,635.00     (4,793,515.00)    (9,699,590.00)
BTDPF         0081180     BARRATT DEVELOPMENTS PLC                                                                      2.5983     1.8671     2.5983   1.0000   1.0000   USD   1.0000    2,179,878.00    5,663,992.27    1,810,960.19   (3,853,032.08)    2,569,067.00    6,675,224.77     2,134,283.69    (4,540,941.08)    (8,393,973.16)
ABVT         00374N107    ABOVENET INC                                                                                 56.5000    58.0000    56.5000   1.0000   1.0000   USD   1.0000     392,902.00    22,198,963.00   18,073,492.00   (4,125,471.00)     372,301.00    21,035,006.50    17,125,846.00    (3,909,160.50)    (8,034,631.50)
5337735     92923CAP9     WCI CMNTYS INC SR SUB NT 6.625% 3/15/2015 92923CAP9                                          41.0000    35.0000    35.0000   0.0100   1.0000   USD   1.0000   13,105,000.00    4,586,750.00     196,575.00    (4,390,175.00)   10,345,000.00    3,620,750.00      155,175.00     (3,465,575.00)    (7,855,750.00)
ADVNB        007942204    ADVANTA CORP-CL B NON-VTG                                                                     8.5800     8.2300     8.5800   1.0000   1.0000   USD   1.0000     951,658.00     8,165,225.64    3,654,366.72   (4,510,858.92)     689,393.00     5,914,991.94     2,647,269.12    (3,267,722.82)    (7,778,581.74)
5214313     92923CAM6     WCI COMMUNITIES INC CONV SENIOR SUB NOTE 7.875% 10/1/2013 92923CAM6                          38.5000    35.0000    35.0000   0.0100   1.0000   USD   1.0000   19,560,000.00    6,846,000.00    2,934,000.00   (3,912,000.00)   15,978,000.00    5,592,300.00     2,396,700.00    (3,195,600.00)    (7,107,600.00)
RHDGF         2967879     RETAIL HOLDINGS N V                                                                           8.0000     8.5000     8.0000   1.0000   1.0000   USD   1.0000    1,341,254.00   10,730,032.00   6,706,270.00    (4,023,762.00)     386,878.00     3,095,024.00     1,934,390.00    (1,160,634.00)    (5,184,396.00)
HOV          442487203    HOVNANIAN ENTERPRISES INC-CL A                                                                7.5700     7.9900     7.5700   1.0000   1.0000   USD   1.0000     402,500.00     3,046,925.00     756,700.00    (2,290,225.00)     472,500.00     3,576,825.00      888,300.00     (2,688,525.00)    (4,978,750.00)
5BDKMR1     140661AD1     CAPMARK FINL GROUP INC SR NT FLT 10 3.74625% 5/10/2010 140661AD1                             76.6720    65.0000    65.0000   0.0100   1.0000   USD   1.0000    7,625,000.00    4,956,250.00    2,821,250.00   (2,135,000.00)    8,255,000.00    5,365,750.00     3,054,350.00    (2,311,400.00)    (4,446,400.00)
5332712     N5639BAC2     SAIRGROUP FINANCE *IN DEFAULT* 6.625% 10/6/2010 N5639BAC2                                     0.0000    26.7085    26.7085   0.0100   1.0000   USD   1.0000   31,627,000.00    8,447,112.38    6,479,710.58   (1,967,401.80)   35,743,000.00    9,546,436.20     7,322,992.87    (2,223,443.33)    (4,190,845.13)
5BDGWP4     76114EAE2     RESIDENTIAL CAP LLC SR SECD NT 8.50% 05/15/2010 76114EAE2                                    69.5000    55.0000    55.0000   0.0100   1.0000   USD   1.0000   26,875,000.00   14,781,250.00   12,900,000.00   (1,881,250.00)   26,475,000.00   14,561,250.00    12,708,000.00    (1,853,250.00)    (3,734,500.00)
M017061     55291M202     MAC CAPITAL LLC COMBINATION SECS MEMBERSHIP                                                   0.0000     0.3200     0.3200   1.0000   1.0000   USD   1.0000         0.00           0.00            0.00             0.00        9,656,000.00    3,089,920.00          0.00       (3,089,920.00)    (3,089,920.00)
ZARLF        989139100    ZARLINK SEMICONDUCTOR INC                                                                     0.6100    45.5000     0.6100   1.0000   1.0000   USD   1.0000    5,489,218.00    3,348,422.98    1,209,274.69   (2,139,148.29)    2,164,484.00    1,320,335.24      476,835.81      (843,499.43)     (2,982,647.72)
5225200     92923CAK0     WCI COMMUNITIES INC CONV 4% 8/5/2023 92923CAK0                                               38.0000    35.0000    35.0000   0.0100   1.0000   USD   1.0000    6,769,000.00    2,369,150.00    1,006,888.75   (1,362,261.25)    6,410,000.00    2,243,500.00      953,487.50     (1,290,012.50)    (2,652,273.75)
5986867    XS0282003820   LUXFER HOLDINGS PLC 11.831% 02/06/2012 G5698WAD0                                              0.0000   142.1600   142.1600   0.0100   1.0000   USD   1.0000    2,179,193.00    3,097,940.77    1,881,776.74   (1,216,164.03)    2,308,621.00    3,281,935.61     1,898,881.35    (1,383,054.26)    (2,599,218.29)
ACTG         003881307    ACACIA RESEARCH - ACACIA TECHNOLOGIES                                                         4.1300     3.0200     4.1300   1.0000   1.0000   USD   1.0000     521,695.00     2,154,600.35    1,064,257.80   (1,090,342.55)     612,425.00     2,529,315.25     1,249,347.00    (1,279,968.25)    (2,370,310.80)
CAL          210795308    CONTINENTAL AIRLINES INC-CL B                                                                18.9500    15.8300    18.9500   1.0000   1.0000   USD   1.0000     301,044.00     5,704,783.80    4,633,067.16   (1,071,716.64)     343,356.00     6,506,596.20     5,284,248.84    (1,222,347.36)    (2,294,064.00)
5BBNND6     55265AAN1     MAC CAPITAL LTD SER 2007-1 CL B-2L 144A/3C7 7.0450% 7/26/2023 55265AAN1                       0.0000    40.4600    40.4600   0.0100   1.0000   USD   1.0000    6,050,000.00    2,447,830.00    1,257,190.00   (1,190,640.00)    4,950,000.00    2,002,770.00     1,028,610.00     (974,160.00)     (2,164,800.00)
5196207     N5639BAA6     SAIR GROUP FINANCE B V *IN DEFAULT* 4.375% 6/8/2006 N5639BAA6                                 0.0000    26.7686    26.7686   0.0100   1.0000   USD   1.0000   23,417,000.00    6,268,397.51    5,222,198.79   (1,046,198.72)   19,357,000.00    5,181,593.31     4,100,776.01    (1,080,817.30)    (2,127,016.02)
5856846     904677AG6     UNIFI INC SR SC NT 11.5% R/MD 05/15/2014 904677AG6                                           90.5000    82.5000    82.5000   0.0100   1.0000   USD   1.0000   12,528,000.00   10,335,600.00   9,020,160.00    (1,315,440.00)    7,472,000.00    6,164,400.00     5,379,840.00     (784,560.00)     (2,100,000.00)
5BBKLB4    XS0302940688   MAC CAPITAL LTD R/MD .000000001 07/24/2023 0% 7/24/2023 G5753NAB6                             0.0000     0.3900     0.3900   1.0000   1.0000   USD   1.0000    6,500,000.00    2,535,000.00     756,600.00    (1,778,400.00)        0.00              0.00            0.00            0.00         (1,778,400.00)
LCC         90341W108     US AIRWAYS GROUP INC                                                                          7.8800     6.0300     7.8800   1.0000   1.0000   USD   1.0000     689,448.00     5,432,850.24    4,626,196.08    (806,654.16)      809,010.00     6,374,998.80     5,428,457.10     (946,541.70)     (1,753,195.86)
5BDHSQ5     85431AJM0     VICTORIA STANFIELD FIN LTD MEDIUM TERM NTS144A 3C7 0% 01/25/2008 85431AJM0                    0.0000    42.0000    42.0000   0.0100   1.0000   USD   1.0000    4,600,000.00    1,932,000.00     575,000.00    (1,357,000.00)    5,400,000.00    2,268,000.00     1,890,000.00     (378,000.00)     (1,735,000.00)
ADVNA        007942105    ADVANTA CORP-CL A (FORMERLY COMMON)                                                           7.2200     4.9300     7.2200   1.0000   1.0000   USD   1.0000     158,854.00     1,146,925.88     339,947.56     (806,978.32)      166,257.00     1,200,375.54      355,789.98      (844,585.56)     (1,651,563.88)
5128805     13134YAA5     CALPINE CONSTRUCTION FINANCE CO L P /CCFC FINANCE CORP 144A 11.6025% 08/26/2011 13134YAA5   107.5000   101.5000   101.5000   0.0100   1.0000   USD   1.0000   12,650,000.00   12,839,750.00   11,448,250.00   (1,391,500.00)    2,350,000.00    2,385,250.00     2,126,750.00     (258,500.00)     (1,650,000.00)
ADPAJ        00685R102    ADELPHIA RECOVERY TRUST SERIES ARAHOVA INT                                                    0.4000     0.2500     0.4000   1.0000   1.0000   USD   1.0000         0.00           0.00            0.00             0.00        5,301,739.00    2,120,695.60      636,208.68     (1,484,486.92)    (1,484,486.92)
5341743     112013AB3     BRODER BROS CO SR NOTE 11.25% 10/15/2010 112013AB3                                           67.5000    58.5000    58.5000   0.0100   1.0000   USD   1.0000    4,975,000.00    2,910,375.00    1,990,000.00    (920,375.00)     2,525,000.00    1,477,125.00     1,010,000.00     (467,125.00)     (1,387,500.00)
5262134     98141AAD3     WORLD ACCESS INC SENIOR NOTES- DEFAULT 13.25% 01/15/2008 98141AAD3                            0.0000     3.2389     3.2389   0.0100   1.0000   USD   1.0000   67,826,000.00    2,196,799.10    2,034,780.00    (162,019.10)    58,995,000.00    1,910,774.09      727,667.55     (1,183,106.54)    (1,345,125.64)
POR          736508847    PORTLAND GENERAL ELECTRIC CO NEW                                                             25.4700    23.6600    25.4700   1.0000   1.0000   USD   1.0000       1,147.00       29,214.09       22,641.78       (6,572.31)      233,431.00     5,945,487.57     4,607,927.94    (1,337,559.63)    (1,344,131.94)
5355724    XS0119591302   MULIALERAMIK FINANCE LTD SENIOR A VAR RATE 7.18750% 10/31/2007                                0.0000    22.0000    22.0000   0.0100   1.0000   USD   1.0000    6,045,389.00    1,329,985.58     453,404.18     (876,581.40)     3,114,291.00     685,144.02       233,571.83      (451,572.19)     (1,328,153.59)
5325546     74972EAN8     RSL COMMUNICATIONS PLC GRD US$ SR NT- *IN DEFAULT* 12.8750% 03/01/2010 74972EAN8              0.0000     4.2500     4.2500   0.0100   1.0000   USD   1.0000   18,635,000.00     791,987.50      234,987.35     (557,000.15)    24,550,000.00    1,043,375.00      309,575.50      (733,799.50)     (1,290,799.65)
5975781     852591AA4     STALLION OILFIELD SVCS LTD / CORP SR NT 144A 9.75% 02/01/2015 852591AA4                      73.0000    65.0000    65.0000   0.0100   1.0000   USD   1.0000    2,475,000.00    1,608,750.00     940,500.00     (668,250.00)     2,025,000.00    1,316,250.00      769,500.00      (546,750.00)     (1,215,000.00)
5713396     666107AA5     NORTHERNSTAR NAT GAS INC SR NTS 144A 5% 05/15/2013 666107AA5                                 92.0000    30.0000    30.0000   0.0100   1.0000   USD   1.0000   11,694,343.00    3,508,302.90    2,923,585.75    (584,717.15)    11,694,343.00    3,508,302.90     2,923,585.75     (584,717.15)     (1,169,434.30)
FRCPF        359043106    FRONTERA COPPER CORPORATION                                                                   1.7774     1.1475     1.7774   1.0000   1.0000   USD   1.0000     880,395.00     1,564,815.83     532,110.74    (1,032,705.09)      93,305.00      165,840.49        56,393.54      (109,446.95)     (1,142,152.04)
5145204     74972EAC2     RSL COMMUNICATION PLC SR NTS- *IN DEFAULT* 9.1250% 03/01/2008 74972EAC2                       0.0000     3.5000     3.5000   0.0100   1.0000   USD   1.0000   24,385,000.00     853,475.00      304,812.50     (548,662.50)    26,290,000.00     920,150.00       328,625.00      (591,525.00)     (1,140,187.50)
THBDL        88605P108    THUNDERBIRD RESORTS INC COM 144A                                                              0.0000     5.0000     6.0000   1.0000   1.0000   USD   1.0000     244,444.00     1,466,664.00     855,554.00     (611,110.00)      200,000.00     1,200,000.00      700,000.00      (500,000.00)     (1,111,110.00)
RIG         H8817H100     TRANSOCEAN INC NEW                                                                          122.6900   109.8400   122.6900   1.0000   1.0000   USD   1.0000       9,200.00     1,128,748.00     633,696.00     (495,052.00)       10,800.00     1,325,052.00      743,904.00      (581,148.00)     (1,076,200.00)
5142263    XS0087917596   RSL COMMUNICATIONS GLOBAL USD- *IN DEFAULT* 10% 03/15/2008 G7703AAD7                          0.0000     1.6000     1.6000   0.0100   1.0000   USD   1.0000   56,450,000.00     903,200.00      321,765.00     (581,435.00)    47,149,000.00     754,384.00       268,749.30      (485,634.70)     (1,067,069.70)
5BDNVY1      98951UAJ5    ZIFF DAVIS MEDIA INC SR SECD NT FLTG RATE NEW 0% 05/01/2012 98951UAJ5                         0.0000    83.0000    83.0000   0.0100   1.0000   USD   1.0000    2,294,000.00    1,904,020.00    1,376,400.00    (527,620.00)     2,150,000.00    1,784,500.00     1,290,000.00     (494,500.00)     (1,022,120.00)
5I19025     126685DX1     CWHEQ HOME EQUITY LOAN TRUST MTGPC/SERIES 2006-S2 A-3-VAR 5.841% 07/25/2027 126685DX1        41.1849    41.0000    41.0000   0.0100   1.0000   USD   1.0000    9,200,000.00    3,772,000.00    3,312,000.00    (460,000.00)    10,800,000.00    4,428,000.00     3,888,000.00     (540,000.00)     (1,000,000.00)
ABVTZ        00374N123    WTS ABOVENET                                                                                 31.0000    31.0000    31.0000   1.0000   1.0000   USD   1.0000      40,000.00     1,240,000.00     840,000.00     (400,000.00)       40,000.00     1,240,000.00      840,000.00      (400,000.00)       (800,000.00)
5943647     12668XAC9     COUNTRYWIDE ASSET-BACKED CTFS SERIES 2006-S8 CLASS A3 5.555% 04/25/2036 12668XAC9            52.7379    52.5346    52.5346   0.0100   1.0000   USD   1.0000    6,647,920.00    3,492,456.83    3,124,522.40    (367,934.43)     7,804,080.00    4,099,840.62     3,667,917.60     (431,923.02)       (799,857.45)
5I43662     126684AC3     COUNTRYWIDE ASSET BK CERT SERIES 2006-2N CLASS A3 5.658% 03/25/2034 126684AC3                86.5816    54.0000    54.0000   0.0100   1.0000   USD   1.0000    4,070,000.00    2,197,800.00    1,831,500.00    (366,300.00)     4,780,000.00    2,581,200.00     2,151,000.00     (430,200.00)       (796,500.00)
5BCSLJ0     G8439CAN0     VICTORIA STANFIELD EURO MEDIUM TERM NOTE 4.835% 03/28/2008 G8439CAN0                          0.0000    42.0000    42.0000   0.0100   1.0000   USD   1.0000    1,150,000.00     483,000.00       74,750.00     (408,250.00)      850,000.00      357,000.00       102,000.00      (255,000.00)       (663,250.00)
5F23941     361856CV7     GMACM HOME EQUITY LOAN TRUST MTGPC/SERIES 2004-HE1 A-3-VAR 2.6818% 06/25/2034 361856CV7      52.9260    51.0000    51.0000   0.0100   1.0000   USD   1.0000    4,025,000.00    2,052,750.00    1,752,137.38    (300,612.62)     4,725,000.00    2,409,750.00     2,056,856.92     (352,893.08)       (653,505.70)
5326574    XS0110843629   RSL COMM PLC 12.875% 03/01/2010                                                               0.0000     4.0000     4.0000   0.0100   1.0000   USD   1.0000    7,000,000.00     280,000.00      101,500.00     (178,500.00)    18,047,000.00     721,880.00       261,681.50      (460,198.50)       (638,698.50)
5BFBPV0     9262G0AL3     VICTORIA FIN LTD 144A VR 090908-121208 0% 12/12/2008 9262G0AL3                               65.0000    42.0000    42.0000   0.0100   1.0000   USD   1.0000    4,950,000.00    2,079,000.00    1,732,500.00    (346,500.00)     4,050,000.00    1,701,000.00     1,417,500.00     (283,500.00)       (630,000.00)
CFS          20038K109    COMFORCE CORP                                                                                 1.9800     1.6500     1.9800   1.0000   1.0000   USD   1.0000     285,300.00      564,894.00      288,153.00     (276,741.00)      260,300.00      515,394.00       262,903.00      (252,491.00)       (529,232.00)
NENA         64007P103    NEENAH ENTERPRISES INC                                                                        1.8000     2.0000     1.8000   1.0000   1.0000   USD   1.0000     346,623.00      623,921.40      346,623.00     (277,298.40)      314,578.00      566,240.40       314,578.00      (251,662.40)       (528,960.80)
5801730     12668VAF6     COUNTRYWIDE ASSET-BCK CERTIF SERIES 2006-S7 CLASS A6 5.693% 11/25/2035 12668VAF6             48.2910    48.0000    48.0000   0.0100   1.0000   USD   1.0000    2,300,000.00    1,104,000.00     874,000.00     (230,000.00)     2,700,000.00    1,296,000.00     1,026,000.00     (270,000.00)       (500,000.00)
5BDRLG4     66899ABF8     NORTHWESTERN CORPORATION SENIOR DEBENTURE 6.95% 11/15/2028 66899ABF8                          7.7188     7.0000     7.0000   0.0100   1.0000   USD   1.0000   16,863,000.00    1,180,410.00     893,739.00     (286,671.00)    11,654,000.00     815,780.00       617,662.00      (198,118.00)       (484,789.00)
5341424     U12605AD0     CIT GROUP INC EURO MEDIUM TERM NOTE 5.305% 5/13/2009 U12605AD0                              132.8864   115.1815   115.1815   0.0100   1.0000   USD   1.0000    1,150,000.00    1,324,587.03    1,104,000.00    (220,587.03)     1,350,000.00    1,554,949.99     1,296,000.00     (258,949.99)       (479,537.02)
SGLP        81662W108     SEMGROUP ENERGY PARTNERS L P COM UNIT REPSTG LTD PARTNERSHP                                   8.7600     6.9800     8.7600   1.0000   1.0000   USD   1.0000         0.00           0.00            0.00             0.00          77,800.00      681,528.00       228,732.00      (452,796.00)       (452,796.00)
5961848     12668YAB9     COUNTRYWIDE ASSET-BACKED CERTI SERIES 2006-S10 CLASS A3.42688%10/25/2036 12668YAB9           90.3607    60.0000    60.0000   0.0100   1.0000   USD   1.0000    2,300,000.00    1,380,000.00    1,196,000.00    (184,000.00)     2,700,000.00    1,620,000.00     1,404,000.00     (216,000.00)       (400,000.00)
5I06641     76110VTD0     RESIDENTIAL FDG MTG SECS II IN SERIES 2006-HSA1 CLASS A-2 5.19% 02/25/2036 76110VTD0         69.0380    42.0000    42.0000   0.0100   1.0000   USD   1.0000    2,990,000.00    1,255,800.00    1,076,400.00    (179,400.00)     3,510,000.00    1,474,200.00     1,263,600.00     (210,600.00)       (390,000.00)
SPF12       853763AA8     STANDARD PACIFIC CORP CVT SENIOR SUB NOTES 6% 10/01/2012 853763AA8                           76.2500    68.2010    68.2010   0.0100   1.0000   USD   1.0000    1,012,000.00     690,194.12      516,120.00     (174,074.12)     1,188,000.00     810,227.88       605,880.00      (204,347.88)       (378,422.00)
5551644     841338AD8     SOUTHEAST BKG CORP SUB NTS REG IN DEFAULT 10.5% 04/11/2001 841338AD8                          0.0000     3.0000     3.0000   0.0100   1.0000   USD   1.0000    8,756,000.00     262,680.00       10,945.00     (251,735.00)     4,132,000.00     123,960.00         5,165.00      (118,795.00)       (370,530.00)
ICOG         44930K108    ICO GLOBAL COMMUNICATIONS HLDGS LTD DEL CL A                                                  2.4300     1.0900     2.4300   1.0000   1.0000   USD   1.0000     174,960.00      425,152.80      162,712.80     (262,440.00)       67,540.00      164,122.20        62,812.20      (101,310.00)       (363,750.00)
5BDQSC5     66899ABG6     NORTHWESTERN CORP -CONTRA CUSIP- 7.875% 03/15/2007 66899ABG6                                  7.6250     7.1250     7.1250   0.0100   1.0000   USD   1.0000   11,676,000.00     831,915.00      630,504.00     (201,411.00)     8,807,000.00     627,498.75       475,578.00      (151,920.75)       (353,331.75)
G005020      361990484    GH WATER SUPPLY HL SHS                                                                        0.0000    17.2980    17.2980   1.0000   1.0000   USD   1.0000      19,346.00      334,647.11      124,775.88     (209,871.23)       10,468.00      181,075.46        67,515.45      (113,560.01)       (323,431.24)
5341886    XS0119594405   MULIAKERAMIK FINANCE LTD SENIOR B VAR RT 0% 10/31/2007                                        0.0000    22.0000    22.0000   0.0100   1.0000   USD   1.0000    1,320,000.00     290,400.00       99,000.00     (191,400.00)      680,000.00      149,600.00        51,000.00       (98,600.00)       (290,000.00)
CPXOF      ARP2006N1025   CAPEX SA-ORD AP 1 PAR (BB SYMBOL: CAPX AR)                                                    1.9645     1.4839     1.9645   1.0000   1.0000   USD   1.0000     111,801.00      219,633.85       66,561.74     (153,072.11)      107,382.00      210,952.69        74,752.52      (136,200.17)       (289,272.28)
5540538     031042AC8     AMES TRUE TEMPER INC SENIOR NOTE 144A 6.7906% 1/15/2012 031042AC8                            80.5000    75.0000    75.0000   0.0100   1.0000   USD   1.0000    3,000,000.00    2,250,000.00    1,965,000.00    (285,000.00)         0.00              0.00            0.00            0.00           (285,000.00)
5231763     87941TAE5     TELEGLOBE INC DEB- *IN DEFAULT* 7.7% 07/20/2029 87941TAE5                                     0.0000     1.2500     1.2500   0.0100   1.0000   USD   1.0000   53,161,000.00     664,512.50      531,610.00     (132,902.50)    57,801,000.00     722,512.50       578,010.00      (144,502.50)       (277,405.00)
5BDNVZ6      989ESC991    ZIFF DAVIS MEDIA INC SR SECD NT - ESCROW CUSIP - 0% 05/01/2012 989ESC991                    100.0000    4.2066      4.2066   0.0100   1.0000   USD   1.0000    9,085,000.00     382,169.61      240,852.44     (141,317.17)     8,515,000.00     358,191.99       225,741.17      (132,450.82)       (273,767.99)
5324524     29357YAA1     ENRON CORP PRIVATE PLACEMENT (CLN ) 8% 08/15/2049 29357YAA1                                   0.0000     2.0000     2.0000   0.0100   1.0000   USD   1.0000    9,213,000.00     184,260.00       11,516.25     (172,743.75)     4,187,000.00      83,740.00         5,233.75       (78,506.25)       (251,250.00)
5905694     126683AB7     CWHEQ HOME EQUITY LN TR SER 2006-S5 CLASS A2 5.681% 06/25/2035 126683AB7                     59.0244    59.0000    59.0000   0.0100   1.0000   USD   1.0000    5,750,000.00    3,392,500.00    3,277,500.00    (115,000.00)     6,750,000.00    3,982,500.00     3,847,500.00     (135,000.00)       (250,000.00)
PGTI         69336V101    PGT INC                                                                                       4.0400     3.0300     4.0400   1.0000   1.0000   USD   1.0000     134,259.00      542,406.36      306,110.52     (236,295.84)         0.00              0.00            0.00            0.00           (236,295.84)
5BDXBS2     66899ABH4     NORTHWESTERN CORP -CONTRA CUSIP- 8.75% 03/15/2049 66899ABH4                                   7.6250     7.1250     7.1250   0.0100   1.0000   USD   1.0000    7,528,000.00     536,370.00      406,512.00     (129,858.00)     5,937,000.00     423,011.25       320,598.00      (102,413.25)       (232,271.25)
5144489     H7110NAD5     S-AIR GROUP SWSAIR 0.125% 12/31/2049 H7110NAD5                                               11.9221    13.7200    13.7200   0.0100   1.0000   USD   1.0000   16,275,000.00    2,232,930.00    2,137,415.27     (95,514.73)    19,780,000.00    2,713,816.00     2,597,731.12     (116,084.88)       (211,599.61)
THRSF     G88576106  THUNDERBIRD RESORTS INC NEW                          08-13555-mg Doc 45573-18 6.0000       Filed
                                                                                                            5.0000      08/05/14
                                                                                                                    6.0000 1.0000 1.0000 Entered
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                                                                                                                                                                                                                                                                                                      (199,783.50)
                                                                                                                                                                                                                                                                                                      (181,872.00)
3450402   238259Z65  DAUPHIN CNTY PA GEN AUTH REV OFFICE & PKG-FORUM PL-SER A 6% 01/15/2025 238259Z65          0.0000  65.0000 65.0000    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,295,000.00    841,750.00     666,018.50    (175,731.50)   (175,731.50)
DAL       247361702  DELTA AIR LINES INC DEL COM NEW                                                           8.1300   7.4500  8.1300    1.0000   1.0000   USD   1.0000     591,804.00     4,811,366.52   4,693,005.72   (118,360.80)     262,805.00    2,136,604.65   2,084,043.65    (52,561.00)   (170,921.80)
5253291  358430AA4 FRIEDE GOLDMAN INTL INC SUB NT CV-IN DEFAULT 4.50% 09/15/2049 358430AA4                     0.0000   4.7500  4.7500    0.0100   1.0000   USD   1.0000   52,619,000.00    2,499,402.50   2,367,855.00   (131,547.50)   15,677,000.00    744,657.50     705,465.00     (39,192.50)   (170,740.00)
5449492 CH0010348594 SAIR GROUP -IN DEFAULT 4.25% 02/02/2007 010645182                                         0.0000  13.7200 13.7200    0.0100   1.0000   USD   1.0000     795,000.00      109,074.00     104,408.30      (4,665.70)   12,000,000.00   1,646,400.00   1,501,044.95   (145,355.05)   (150,020.75)
5229955              PEREGRINE INVEST HOLDINGS LTD                                                             0.0000   0.0145  0.0145    0.0100   1.0000   USD   1.0000 2,120,000,000.00    307,400.00     160,696.00    (146,704.00)         0.00            0.00           0.00          0.00      (146,704.00)
5BBPVH5 XS0301812557 GMAC BANK GMBH EURO MEDIUM TERM NOTE 5.75% 05/21/2010 N3592XB66                         109.1440 92.3090 92.3090     0.0100   1.0000   USD   1.0000     920,000.00      849,242.80     784,430.64     (64,812.16)    1,080,000.00    996,937.20     920,853.36     (76,083.84)   (140,896.00)
5I19024  126685DW3 CWHEQ HOME EQUITY LOAN TRUST MTGPC/SERIES 2006-S2 A-2-VAR 5.627% 07/25/2027 126685DW3      78.1854 68.0000 68.0000     0.0100   1.0000   USD   1.0000    2,150,000.00    1,462,000.00   1,397,500.00    (64,500.00)    2,525,000.00   1,717,000.00   1,641,250.00    (75,750.00)   (140,250.00)
5BFBRQ5  9262G0AF6 VICTORIA FIN LTD 144A VR 090908-021709 0% 2/17/2009 9262G0AF6                              65.0000 42.0000 42.0000     0.0100   1.0000   USD   1.0000    1,100,000.00     462,000.00     385,000.00     (77,000.00)     900,000.00     378,000.00     315,000.00     (63,000.00)   (140,000.00)
5497868  339130AX4 FLEMING COMPANIES INC SENIOR NOTES 9.25% 06/15/2010 339130AX4                               0.0000   2.5000  2.5000    0.0100   1.0000   USD   1.0000   17,368,000.00     434,200.00     347,360.00     (86,840.00)    7,882,000.00    197,050.00     157,640.00     (39,410.00)   (126,250.00)
5BBKVC2  640071AR7 NEENAH CORP SR SECD NT 9.50% 01/01/2017 640071AR7                                          76.6250 72.0000 72.0000     0.0100   1.0000   USD   1.0000     460,000.00      331,200.00     273,700.00     (57,500.00)     540,000.00     388,800.00     321,300.00     (67,500.00)   (125,000.00)
5204979  247361VM7 DELTA AIR PTC 1990-E15 10.33% 03/26/2006 247361VM7                                          0.0000  34.1063 34.1063    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,801,000.00    614,254.46     497,537.06    (116,717.40)   (116,717.40)
5231755  87941TAD7 TELEGLOBE INC GTD DEB 7.2% 07/20/2009 87941TAD7                                             0.0000   1.2500  1.2500    0.0100   1.0000   USD   1.0000   26,335,000.00     329,187.50     263,350.00     (65,837.50)   16,619,000.00    207,737.50     166,190.00     (41,547.50)   (107,385.00)
5084588  247361VU9 DELTA AIR PTC 1990-B16 10.79% 03/26/2014 247361VU9                                         81.5000 42.3770 42.3770     0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,250,000.00    529,712.50     425,528.75    (104,183.75)   (104,183.75)
T104832   87941T972  TELEGLOBE CANADA INC TEMP 8% 10/23/2026                                                   0.0000   0.0080  0.0080    1.0000   1.0000   USD   1.0000   13,000,000.00     104,000.00      51,275.86     (52,724.14)   12,000,000.00     96,000.00      47,331.56     (48,668.44)   (101,392.58)
5406872  59832WAE9 MIDWEST GENERATION LLC PASSTHRU CTF SER A 8.30% 07/02/2009 59832WAE9                      102.5940 100.7500 100.7500   0.0100   1.0000   USD   1.0000    2,625,000.00    2,644,687.50   2,546,250.00    (98,437.50)         0.00            0.00           0.00          0.00       (98,437.50)
5197153  247361VK1 DELTA AIR PTC 1990-C15 10.33% 03/26/2006 247361VK1                                          0.0000  34.1771 34.1771    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,601,000.00    547,175.37     451,009.71     (96,165.66)    (96,165.66)
EXEXA     269282109  EXX INC-CL A                                                                              2.4500   1.4047  2.4500    1.0000   1.0000   USD   1.0000      51,850.00      127,032.50      80,367.50     (46,665.00)      51,850.00     127,032.50      80,367.50     (46,665.00)    (93,330.00)
5253212  987406AA3 YOSEMITE SECURITIES TRUST I 99-A LNKD ENRN OBLG LDS-DFLT 8.25% 11/15/2049 987406AA3         0.5000   2.0000  2.0000    0.0100   1.0000   USD   1.0000    4,350,000.00      87,000.00       2,718.75     (84,281.25)     450,000.00       9,000.00        281.25       (8,718.75)    (93,000.00)
5451783  247361VW5 DELTA AIR PTC 1990-D16 10.79% 03/26/2014 247361VW5                                         81.5000 34.3068 34.3068     0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,500,000.00    514,602.00     423,966.00     (90,636.00)    (90,636.00)
5778017  125568AE5   CIT GROUP FDG CO CDA SR NT 5.6% 11/02/2011 125568AE5                                     80.0749 60.5000 60.5000     0.0100   1.0000   USD   1.0000    4,815,000.00    2,913,075.00   2,864,925.00    (48,150.00)    3,935,000.00   2,380,675.00   2,341,325.00    (39,350.00)    (87,500.00)
5E11267  70557RAA8 PEGASUS AVIATION LEASE SECURITIZATION IIASTBK/SERIES 5.81% 05/10/2031 70557RAA8             0.0000  43.0000 43.0000    0.0100   1.0000   USD   1.0000    1,000,000.00     430,000.00     352,500.00     (77,500.00)         0.00            0.00           0.00          0.00       (77,500.00)
5174451  629377AN2 NRG ENERGY INC SENIOR DEB 6.50% 05/16/2006 629377AN2                                        0.0000   0.3896  0.3896    0.0100   1.0000   USD   1.0000   25,057,250.00      97,626.75      57,631.68     (39,995.07)   22,005,250.00     85,735.70      50,612.08     (35,123.62)    (75,118.69)
5648314  247361VX3 DELTA AIR PTC 1990-E16 10.79% 03/26/2014 247361VX3                                          0.0000  34.1063 34.1063    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      5,000,000.00   1,705,315.00   1,632,090.00    (73,225.00)    (73,225.00)
5BBFSB4  85431AFH5 VICTORIA STANFIELD FIN LTD MTN VR 032406-032509 3.13% 3/24/2009 85431AFH5                   0.0000  42.0000 42.0000    0.0100   1.0000   USD   1.0000     550,000.00      231,000.00     192,500.00     (38,500.00)     450,000.00     189,000.00     157,500.00     (31,500.00)    (70,000.00)
5BBKJQ7   2284499A4  CROWN PAPER CO SR SUB NOTES -ESCROW CUSIP- 11% 09/01/2005 2284499A4                       0.0000   0.2500  0.2500    0.0100   1.0000   USD   1.0000   29,260,000.00      73,150.00      36,575.00     (36,575.00)   25,937,000.00     64,842.50      32,421.25     (32,421.25)    (68,996.25)
5346617 XS0120313605 TXU EUROPE FUNDING LTD EURO ISSUE- IN DEFAULT 7% 11/30/2007                               0.0000   4.0000  4.0000    0.0100   1.0000   USD   1.0000    8,503,000.00     340,120.00     307,151.75     (32,968.25)    7,429,000.00    297,160.00     268,355.91     (28,804.09)    (61,772.34)
5596000  841338AA4 SOUTHEAST BANKING CORP CV S/D -REG- FLAT 4.75% 10/15/1997 841338AA4                         0.0000   3.0000  3.0000    0.0100   1.0000   USD   1.0000    1,839,000.00      55,170.00       2,298.75     (52,871.25)         0.00            0.00           0.00          0.00       (52,871.25)
5263095 XS0108136465 RSL COMMUNCIATION LTD -DEFAULTED 12.875% 03/01/2010                                       0.0000   4.0000  4.0000    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      2,000,000.00     80,000.00      29,000.00     (51,000.00)    (51,000.00)
5334867 XS0107420217 PASMINCO FINANCE LTD EURO MEDIUM TERM NOTE 0% 02/10/2049 Q73665AA1                        0.0001   7.0000  7.0000    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,250,000.00     87,500.00      37,500.00     (50,000.00)    (50,000.00)
5454713 CH0004931496 SAIRGROUP - IN DEFAULT 2.75% 07/30/2004                                                   0.0000  13.7200 13.7200    0.0100   1.0000   USD   1.0000    2,265,000.00     310,758.00     297,465.17     (13,292.83)    2,815,000.00    386,218.00     350,931.64     (35,286.36)    (48,579.19)
5649514  247361VL9   DELTA AIR PTC 1990-D15 10.33% 03/26/2049 247361VL9                                        0.0000  34.3068 34.3068    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00       801,000.00     274,797.47     226,397.84     (48,399.63)    (48,399.63)
5856171 XS0282593440 FCE BANK PLC EURO MEDIUM TERM NOTE 7.125% 01/16/2012 G33365SQ4                          116.8762 99.8970 99.8970     0.0100   1.0000   USD   1.0000     500,000.00      499,485.00     468,095.50     (31,389.50)     500,000.00     499,485.00     485,561.75     (13,923.25)    (45,312.75)
5296457 CH0007268961 S-AIR GROUP IN DEFAULT 2.125% 11/04/2004                                                  0.0000  13.7200 13.7200    0.0100   1.0000   USD   1.0000    1,850,000.00     253,820.00     242,962.72     (10,857.28)    1,715,000.00    235,298.00     213,800.27     (21,497.73)    (32,355.01)
5370856   339130AP1  FLEMING COS INC NTS 10.125% 04/01/2008 339130AP1                                          0.0000   2.5000  2.5000    0.0100   1.0000   USD   1.0000    1,185,000.00      29,625.00      23,700.00      (5,925.00)    5,000,000.00    125,000.00     100,000.00     (25,000.00)    (30,925.00)
5123317              SOUTHEAST BANKING CORP EURO 0-CPN STAMPED CERT 0% 12/18/1996                              0.0000   3.0000  3.0000    0.0100   1.0000   USD   1.0000    2,410,000.00      72,300.00      60,250.00     (12,050.00)    3,300,000.00     99,000.00      82,500.00     (16,500.00)    (28,550.00)
5596002  841338AG1 SOUTHEAST BANKING CORP SUB CAP CV NOTES-REG-FLAT- *IN DEFAULT 6.5% 03/15/1999 841338AG1     0.0000   3.0000  3.0000    0.0100   1.0000   USD   1.0000     992,000.00       29,760.00       1,240.00     (28,520.00)         0.00            0.00           0.00          0.00       (28,520.00)
5404497 XS0097617996 HIH WINTERTHUR UNDER&AGY SVC LTD EURO MEDIUM TERM NOTE 5.987% 12/31/2049 Q36895AB8        0.0001   1.0000  1.0000    0.0100   1.0000   USD   1.0000    1,740,000.00      17,400.00         0.00       (17,400.00)     760,000.00       7,600.00          0.00       (7,600.00)    (25,000.00)
5274711 XS0108136036 RSL COMMUNICATIONS PLC 12.875% 03/01/2010                                                 0.0000   4.0000  4.0000    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      1,000,000.00     40,000.00      16,100.00     (23,900.00)    (23,900.00)
5275991 XS0108297044 TXU EASTERN FUNDING 7.25% 03/08/2030                                                      0.0000   8.9000  8.9000    0.0100   1.0000   USD   1.0000     300,000.00       26,700.00      12,952.80     (13,747.20)     200,000.00      17,800.00       8,700.60      (9,099.40)    (22,846.60)
5343324  302088AN9 EXODUS COMMUNICATIONS SENIOR NOTES- *IN DEFAULT* 11.375% 07/15/2008 302088AN9               0.0000   0.1100  0.1100    0.0100   1.0000   USD   1.0000   13,650,000.00      15,017.40         0.00       (15,017.40)    4,260,000.00      4,686.75          0.00       (4,686.75)    (19,704.15)
5BBDQY5 XS0299967413 FCE BANK PLC EURO MEDIUM TERM NOTE 7.125% 01/15/2013 G33365SS0                          113.2334 97.0830 97.0830     0.0100   1.0000   USD   1.0000     250,000.00      242,707.50     223,568.00     (19,139.50)     250,000.00     242,707.50     244,527.50      1,820.00      (17,319.50)
5065089  493137AD5 KEY PLASTICS INC SR SUB NOTE SER B 10.25% 03/15/2007 493137AD5                              0.0000   1.0500  1.0500    0.0100   1.0000   USD   1.0000    1,650,000.00      17,325.00       8,250.00      (9,075.00)    1,350,000.00     14,175.00       6,750.00      (7,425.00)    (16,500.00)
CDCO      200334100  COMDISCO HOLDING COMPANY INC                                                              9.8000   9.5100  9.8000    1.0000   1.0000   USD   1.0000       6,664.00       65,307.20      56,644.00      (8,663.20)       4,837.00      47,402.60      41,114.50      (6,288.10)    (14,951.30)
5BDQNT2  612MMI9C4 NORTHWESTERN CORP - MONTANA POWER CO - CONTRA CUSIP - 0% 12/23/2026 612MMI9C4               0.0000   7.0000  7.0000    0.0100   1.0000   USD   1.0000     340,000.00       23,800.00      18,020.00      (5,780.00)     278,000.00      19,460.00      14,734.00      (4,726.00)    (10,506.00)
9N44093              TELEGLOBE INC UNSECURED DEBENTURE IN DEFAULT 8.35% 06/20/2003                             3.9844   0.8000  0.8000    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00      2,000,000.00     16,000.00       7,730.00      (8,270.00)     (8,270.00)
5BDQMJ0  612MMI8A9 NORTHWESTERN CORP - MONTANA POWER CO - TENDER OFFER - 7.96% 12/21/2026 612MMI8A9            6.8750   7.0000  7.0000    0.0100   1.0000   USD   1.0000     201,000.00       14,070.00      10,653.00      (3,417.00)     167,000.00      11,690.00       8,851.00      (2,839.00)     (6,256.00)
5BDQPD8  612MMI9B6 NORTHWESTERN CORP - MONTANA POWER CO - TENDER OFFER - 7.07% 12/20/2006 612MMI9B6            6.8750   7.0000  7.0000    0.0100   1.0000   USD   1.0000     197,000.00       13,790.00      10,441.00      (3,349.00)     162,000.00      11,340.00       8,586.00      (2,754.00)     (6,103.00)
TDFXQ     88553X103  3DFX INTERACTIVE INC                                                                      0.0210   0.0170  0.0210    1.0000   1.0000   USD   1.0000     233,100.00        4,895.10       3,263.40      (1,631.70)      99,500.00       2,089.50       1,393.00       (696.50)      (2,328.20)
5132068  462691AA4 IRIDIUM OPERATING LLC 11.25% 07/15/2005                                                     0.0000   0.6250  0.6250    0.0100   1.0000   USD   1.0000     755,000.00        4,718.75       3,303.13      (1,415.62)         0.00            0.00           0.00          0.00        (1,415.62)
5342696 XS0108551366 EXODUS COMMUNICATIONS SENIOR NOTES 10.75% 12/15/2009                                      0.0000   0.0085  0.0085    0.0100   1.0000   USD   1.0000    3,600,000.00        304.76          0.00         (304.76)     7,540,000.00       638.30           0.00        (638.30)        (943.06)
KANP      48282H308  KAANAPALI LAND LLC                                                                       32.5000 30.6400 32.5000     1.0000   1.0000   USD   1.0000         0.00             0.00          0.00            0.00          76.00         2,470.00       1,941.80       (528.20)        (528.20)
5272401    5071476   INDORAYON INTL FINANCE USD-DEFAULTED 10% 03/29/2001 Y3982EAA6                             0.0000   0.1000  0.1000    0.0100   1.0000   USD   1.0000     400,000.00         400.00          0.00         (400.00)          0.00            0.00           0.00          0.00          (400.00)
5308012  302088AK5 EXODUS COMMUNICATIONS INC SR NT 144A -IN DEFAULT 11.6250% 07/15/2010 302088AK5              0.0000   0.2588  0.2588    0.0100   1.0000   USD   1.0000         0.00             0.00          0.00            0.00       105,000.00        271.74           0.00        (271.74)        (271.74)
9057437   683990873  OPEN CONNECT SYSTEMS INC RESTRICTED                                                       0.0000   0.0100  0.0100    1.0000   1.0000   USD   1.0000         0.00             0.00          0.00            0.00        22,397.00        223.97           0.00        (223.97)        (223.97)
5070317  739731AB3 PRATAMA DATAKOM ASIA ACCREDITED INVS 12.75% 07/15/2005 739731AB3                            0.0000   0.0100  0.0100    0.0100   1.0000   USD   1.0000     500,000.00          50.00          0.00          (50.00)          0.00            0.00           0.00          0.00           (50.00)
5957202              SECURTIZIED MULTIPLE ASSET A2 97-5 0% 06/29/2005                                          0.0000   0.0010  0.0010    0.0100   1.0000   USD   1.0000    4,798,000.00         47.98          0.00          (47.98)          0.00            0.00           0.00          0.00           (47.98)
DYHCS     703044107  PATENT LITIGATION TR BENEFICIAL TRUST INTERESTS                                           0.0010   0.0005  0.0005    1.0000   1.0000   USD   1.0000      53,071.00          26.54         26.53           (0.01)       20,069.00         10.03          10.03          0.00            (0.01)
KGPMR     483058111  RTS KAISER GOVT PROGRAMS INC PUT RT PUR PFD KAISER GROUP                                  0.0000   0.0001  0.0001    1.0000   1.0000   USD   1.0000      51,750.00           5.18          5.17           (0.01)          0.00            0.00           0.00          0.00            (0.01)
5579099  009451AH8 AIRPLANES PASS THRU TRUST STF CL D 10.875% 03/15/2019 009451AH8                             0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000   33,789,621.00          0.00          0.00            0.00           0.00            0.00           0.00          0.00             0.00
A015124   029320991  AMERICAN RICE INC ESCROW CUSIP                                                            0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000         0.00             0.00          0.00            0.00        61,288.00          0.00           0.00          0.00             0.00
5552686  029318AA0 AMERICAN RICE INC MTG NOTES W/CONTINGENT INT 13% 07/31/2002 029318AA0                       0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000     315,000.00           0.00          0.00            0.00       230,000.00          0.00           0.00          0.00             0.00
5956314   TT3070725  BANQUE PALLAS IN DEFAULT 10.125% 02/08/2026 TT3070725                                     0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000   63,800,000.00          0.00          0.00            0.00     16,000,000.00         0.00           0.00          0.00             0.00
5230760   119003AF8  BUDGET GROUP INC SR NTS *IN DEFAULT* 9.125% 04/01/2006 119003AF8                          0.0300   0.0810  0.0810    0.0100   1.0000   USD   1.0000    6,395,000.00       5,179.95       5,179.95          0.00     12,980,000.00     10,513.80      10,513.80         0.00             0.00
3006857  13077Y9A6 CALIFORNIA STATEWIDE CMNTYS DEV AUTH SPL FACS DEV UTD AIR 5.62500 10/01/2034 13077Y9A6      3.5000   0.0000  0.0000    0.0100   1.0000   USD   1.0000    7,600,000.00          0.00          0.00            0.00           0.00            0.00           0.00          0.00             0.00
5530871  13135BAF3 CALPINE GENERATING CO LLC SR SECD NT *IN DEFAULT* 7.755% 04/01/2010 13135BAF3               7.6250   7.5000  7.5000    0.0100   1.0000   USD   1.0000    6,000,000.00     450,000.00     450,000.00          0.00           0.00            0.00           0.00          0.00             0.00
5247881  144500AC9 CARRIER INTL S A SR NOTE SER B 13.25% 02/15/2009 144500AC9                                  0.0000   0.2500  0.2500    0.0100   1.0000   USD   1.0000    3,215,000.00       8,037.50       8,037.50          0.00      3,088,000.00      7,720.00       7,720.00         0.00             0.00
CTLEE     149479107  CATTLESALE COMPANY                                                                        0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000      25,942.00           0.00          0.00            0.00         9,810.00          0.00           0.00          0.00             0.00
5109824  15115MAL5 CELLNET DATA SYS INC/SR DISC 14% 10/01/2007 15115MAL5                                       0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000   70,000,000.00          0.00          0.00            0.00     30,000,000.00         0.00           0.00          0.00             0.00
5150557  15133CAC5 CENTAUR MINING & EXPL LTD SENIOR SECD NOTE 11% 12/01/2007 15133CAC5                         0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000 100,930,000.00           0.00          0.00            0.00     20,070,000.00         0.00           0.00          0.00             0.00
5046016  155560AA3 CENTRAL TRACTOR FARM & COUNTRY INC SR NOTE 10.625% 04/01/2007 155560AA3                     0.0000   0.3750  0.3750    0.0100   1.0000   USD   1.0000    2,540,000.00       9,525.00       9,525.00          0.00      9,460,000.00     35,475.00      35,475.00         0.00             0.00
5147251   12542AAB3                                                            08-13555-mg Doc 45573-18
                         CHS ELECTRONICS INC SENIOR NOTES 9.875% 04/15/2005 12542AAB3                   0.0000      Filed
                                                                                                                0.5000      08/05/14
                                                                                                                        0.5000 0.0100 1.0000 Entered
                                                                                                                                             USD 1.0000 08/05/14
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5BBDTK4
5307531
           12560PEA5
          196267AD0
                         CIT GROUP INC MEDIUM TERM SR NTS 2.9050% 10/27/2008 12560PEA5
                         COLOR TILE INC SR NT IN DEFAULT 10.75% 12/15/2001 196267AD0
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                                                                                                             Lehman
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5220319   21061PAD8      CONSUMER PACKAGING INC SR NOTE 9.75% 02/01/2007 21061PAD8                                  0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000     8,800,000.00         0.00           0.00     0.00    23,854,000.00         0.00           0.00     0.00   0.00
5272505    2107959D4     CONTINENTAL AIRLINES INC SR NOTES GTD-REG-ESCROW-DEFAULT 11.5% 03/15/1997 2107959D4        0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    26,400,000.00         0.00           0.00     0.00    13,600,000.00         0.00           0.00     0.00   0.00
5430398    2338609B3     DAIRY MART CONVENIENCE STORES INC - ESCROW - 10.25% 03/15/2004 2338609B3                   0.0000    0.0100    0.0100   0.0100   1.0000   USD   1.0000      742,000.00         74.20          74.20     0.00      584,000.00         58.40          58.40     0.00   0.00
D004752    243457108     DECISIONONE CORP NEW                                                                       0.0000    0.0000    0.0000   1.0000   1.0000   USD   1.0000          36.00           0.00           0.00     0.00         58.00            0.00           0.00     0.00   0.00
5115626    247701AB1     DELTA MILLS INC SR NOTE SER B 9.62500 09/01/2008 247701AB1                                 0.0000    8.6000    8.6000   0.0100   1.0000   USD   1.0000     3,092,000.00    265,912.00     265,912.00    0.00          0.00            0.00           0.00     0.00   0.00
5123009   262497AG5      DRYPERS CORP SR NTS SER-B 10.25% 06/15/2007 262497AG5                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000     5,004,000.00         0.00           0.00     0.00    15,953,000.00         0.00           0.00     0.00   0.00
5310628    2695249C0     EAGLE GEOPHYSICAL INC SR NT SER B -ESCROWED- 10.75% 07/15/2008 2695249C0                   0.0000    0.0100    0.0100   0.0100   1.0000   USD   1.0000    15,218,000.00      1,521.80       1,521.80    0.00    11,000,000.00      1,100.00       1,100.00    0.00   0.00
5030910    2003368R9     ESC COMDISCO INC NOTE - ESCROW - 6.125% 01/15/2003 2003368R9                               0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000     1,450,000.00         0.00           0.00     0.00     1,050,000.00         0.00           0.00     0.00   0.00
5037926    4983269C3     ESC KITTY HAWK INC SR SECD NTS 9.95% 11/15/2004 4983269C3                                  0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000    11,530,000.00     57,650.00      57,650.00    0.00    22,523,800.00    112,619.00     112,619.00    0.00   0.00
5578456    2107959L6     ESCROW CONTINENTAL AIRLINES INC "IN DEFAULT" 10% 11/15/2001 2107959L6                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000     8,600,000.00         0.00           0.00     0.00     5,718,000.00         0.00           0.00     0.00   0.00
5359457    40065L9B9     ESCROW GUANGDONG INTL TR & INV 144A 8.75% 11/23/2003 40065L9B9                             0.0000    4.6500    4.6500   0.0100   1.0000   USD   1.0000     3,300,000.00    153,450.00     153,450.00    0.00     1,700,000.00     79,050.00      79,050.00    0.00   0.00
5358558    40065L9A1     ESCROW GUANGDONG INTL TR & INVT 144A-IN DEFAULT 6.75% 11/15/2020 40065L9A1                 0.0000    4.6500    4.6500   0.0100   1.0000   USD   1.0000     2,925,000.00    136,012.50     136,012.50    0.00     1,575,000.00     73,237.50      73,237.50    0.00   0.00
5294718    297862AB0     ETOYS IND CONV SUB NOTE-IN DEFAULT 6.25% 12/01/2004 297862AB0                              0.0000    1.4500    1.4500   0.0100   1.0000   USD   1.0000     5,985,000.00     86,782.50      86,782.50    0.00     4,000,000.00     58,000.00      58,000.00    0.00   0.00
5261713   302088AH2      EXODUS COMMUNICATIONS INC SR NT - IN DEFAULT 10.75% 12/15/2009 302088AH2                   0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    34,039,000.00         0.00           0.00     0.00    53,180,000.00         0.00           0.00     0.00   0.00
5158280    302088AB5     EXODUS COMMUNICATIONS INC SR NTS - IN DEFAULT 11.25% 07/01/2008 302088AB5                  0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    50,420,000.00         0.00           0.00     0.00    25,850,000.00         0.00           0.00     0.00   0.00
5355200    302088AL3     EXODUS COMMUNICATIONS INC US$ SR NT 11.625% 07/15/2010 302088AL3                           0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000   164,013,000.00         0.00           0.00     0.00   191,285,000.00         0.00           0.00     0.00   0.00
F006921    301990719     FCLT LOANS ASSET (FIRST CITY LIQ. TRUST)                                                   0.0000    0.0000    0.0000   1.0000   1.0000   USD   1.0000           0.00           0.00           0.00     0.00      109,941.00          0.00           0.00     0.00   0.00
FCFCL      33762E108     FIRSTCITY LIQUIDATING TRUST CL B CBI                                                       0.0000    0.0000    0.0000   1.0000   1.0000   USD   1.0000           0.00           0.00           0.00     0.00      109,941.00          0.00           0.00     0.00   0.00
3BBWTX8    36099ACJ0     FULTON CNTY GA DEV AUTH SPL FACS REV DELTA AIRLINES INC 5.30% 05/01/2013 36099ACJ0         0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000      120,000.00          0.00           0.00     0.00      120,000.00          0.00           0.00     0.00   0.00
5233639   37937WAD1      GLOBAL RATED ELIGIBLE ASSET TR 1998-A ASST BACKED NT -DEFAULT 0% 01/15/20037937WAD1        0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000    79,740,000.00       797.40         797.40     0.00          0.00            0.00           0.00     0.00   0.00
5C64242   37937WAA7      GLOBAL RATED ELIGIBLE ASSET TR CL A2 7.33% 03/15/2006 37937WAA7                            0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000    31,643,000.00       316.43         316.43     0.00          0.00            0.00           0.00     0.00   0.00
5C64936   37937WAB5      GLOBAL RATED ELIGIBLE ASSET TR SERIES 1998-A CL-A-DEFAULT 7.06% 09/15/2007 37937WAB5       0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000    12,362,000.00       123.62         123.62     0.00          0.00            0.00           0.00     0.00   0.00
5I39489   38012TAB8      GMACM HOME EQUITY LN TR SERIES 2006-HE3 CLASS A2 5.75% 10/25/2036 38012TAB8               76.9930   58.0000   58.0000   0.0100   1.0000   USD   1.0000     6,836,750.00   3,965,315.00   3,965,315.00   0.00     8,025,750.00   4,654,935.00   4,654,935.00   0.00   0.00
5BBQVB1   36186LAC7      GMACM HOME EQUITY LN TR SERIES 2007-HE2 CLASS A3 6.193% 12/25/2037 36186LAC7              48.0810   48.0000   48.0000   0.0100   1.0000   USD   1.0000    15,410,000.00   7,396,800.00   7,396,800.00   0.00    18,090,000.00   8,683,200.00   8,683,200.00   0.00   0.00
5BBQTZ9   36186LAD5      GMACM HOME EQUITY LN TR SERIES 2007-HE2 CLASS A4 6.424% 12/25/2037 36186LAD5              31.7589   44.0000   44.0000   0.0100   1.0000   USD   1.0000    18,170,000.00   7,994,800.00   7,994,800.00   0.00    21,330,000.00   9,385,200.00   9,385,200.00   0.00   0.00
5I41557   38012TAD4      GMACM HOME EQUITY LOAN TRUST MTGPC/SERIES 2006-HE3 A-4-VAR 6.088% 10/25/2036 38012TAD4    81.7825   44.0000   44.0000   0.0100   1.0000   USD   1.0000     1,725,000.00    759,000.00     759,000.00    0.00     2,025,000.00    891,000.00     891,000.00    0.00   0.00
5BBKVN8   36186KAD7      GMACM HOME EQUITY LOAN TRUST MTGPC/SERIES 2007-HE1 A-4-VAR 5.952% 08/25/2037 36186KAD7    38.1446   44.0000   44.0000   0.0100   1.0000   USD   1.0000     3,450,000.00   1,518,000.00   1,518,000.00   0.00     4,050,000.00   1,782,000.00   1,782,000.00   0.00   0.00
5282351   361881AA3      GMD BONDHOLDER TRUST OFFSHORE TR CTF 144A 0% 12/31/2026 361881AA3                          0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000         100.00           0.00           0.00     0.00          0.00            0.00           0.00     0.00   0.00
5281808   G3944MAA5      GMD BONDHOLDER TRUST OFFSHORE TR CTF REG S 0% 12/31/2026 G3944MAA5                         0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000        4,218.00          0.00           0.00     0.00          0.00            0.00           0.00     0.00   0.00
5957171                  GREAT 98-A SERIES A-2 FRN                                                                  0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000     4,733,000.00        47.33          47.33     0.00          0.00            0.00           0.00     0.00   0.00
5246447    36228YAC9     GST NETWORK FUNDING INC SR SECD DISC NTE DEFAULT 10.50% 05/01/2008 36228YAC9               0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000     4,000,000.00         0.40           0.40     0.00          0.00            0.00           0.00     0.00   0.00
5329921    362359AC5     GT GROUP TELECOM INC SENIOR DISC EXCH NTS-DEFAULTED 13.25% 02/01/2010 362359AC5            0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    17,000,000.00         0.00           0.00     0.00    14,000,000.00         0.00           0.00     0.00   0.00
5252671    422660AD2     HECHINGER CO *IN DEFAULT* 6.95% 10/15/2003 422660AD2                                       0.0000    1.5000    1.5000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     5,892,000.00     88,380.00      88,380.00    0.00   0.00
5205553    422660AC4     HECHINGER CO SR DEBS 9.45% 11/15/2012 422660AC4                                            0.0000    1.5000    1.5000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00    20,158,000.00    302,370.00     302,370.00    0.00   0.00
5223763    457659AM2     INSILCO CORP SR SUB NOTE SER-B *IN DEFAULT* 12% 08/15/2007 457659AM2                       0.0000    0.0625    0.0625   0.0100   1.0000   USD   1.0000    23,300,000.00     14,562.50      14,562.50    0.00    20,185,000.00     12,615.63      12,615.63    0.00   0.00
5143514    457661AA4     INSILCO HOLDINGG CO SR DISC NT 14% 08/15/2008 457661AA4                                    0.0000    0.0625    0.0625   0.0100   1.0000   USD   1.0000     8,250,000.00      5,156.25       5,156.25    0.00     6,750,000.00      4,218.75       4,218.75    0.00   0.00
5051503    462213AK5     IONICA PLC -SNR DISC NTS 15% 12/31/2049 462213AK5                                          0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000     3,000,000.00        30.00          30.00     0.00     1,500,000.00        15.00          15.00     0.00   0.00
5033225     462213AJ8    IONICA PLC SR NOTE 13.50% 08/15/2006 462213AJ8                                             0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000     3,000,000.00        30.00          30.00     0.00     1,500,000.00        15.00          15.00     0.00   0.00
5249169    465266AC8     IT GROUP INC SENIOR SUB NOTE SER B 11.25% 04/01/2009 465266AC8                             0.0000    0.0100    0.0100   0.0100   1.0000   USD   1.0000    49,600,000.00      4,960.00       4,960.00    0.00    36,949,500.00      3,694.95       3,694.95    0.00   0.00
5574462    477122AV7     JET EQUIPMENT TR MEZZANINE NOTE CL B 95-B 7.83% 08/15/2012 477122AV7                       0.0100    0.0100    0.0100   0.0100   1.0000   USD   1.0000     3,640,000.00       364.00         364.00     0.00     2,860,000.00       286.00         286.00     0.00   0.00
5142368     488035AE6    KELLSTROM INDS INC CONV SUB NOTES-*DEFAULTED* 5.50% 06/15/2003 488035AE6                   0.0000    1.2500    1.2500   0.0100   1.0000   USD   1.0000    24,440,000.00    305,500.00     305,500.00    0.00    23,010,000.00    287,625.00     287,625.00    0.00   0.00
5125334    488035AC0     KELLSTROM INDS INC SUB NTS CONV 5.75% 10/15/2002 488035AC0                                 0.0000    1.2500    1.2500   0.0100   1.0000   USD   1.0000    14,153,000.00    176,912.50     176,912.50    0.00    15,209,000.00    190,112.50     190,112.50    0.00   0.00
LEHJQ        B2PJYC5     LEHMAN BROS HLDGS INC DEP SH REPSTG 1/100TH 7.95%                                          8.2500    0.0100    0.0100   1.0000   1.0000   USD   1.0000       44,482.00        444.82         444.82     0.00       36,718.00        367.18         367.18     0.00   0.00
5109706    537902AC2     LIVENT INC SR NTS - IN DEFAULT 9.375% 10/15/2004 537902AC2                                 0.0000    0.2500    0.2500   0.0100   1.0000   USD   1.0000    20,005,000.00     50,012.50      50,012.50    0.00    18,167,000.00     45,417.50      45,417.50    0.00   0.00
5278012    54986QAA5     LUKENS INC MEDIUM TERM NOTES 6.50% 02/01/2006 54986QAA5                                    0.0000    0.0625    0.0625   0.0100   1.0000   USD   1.0000     2,250,000.00      1,406.25       1,406.25    0.00          0.00            0.00           0.00     0.00   0.00
3502020    586169AN4     MEMPHIS TN HLTH EDL&HSG FAC BRD MFHR SECUR.-A-IN DEFAULT 8.68% 12/15/2049 586169AN4        0.0100    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     1,000,000.00         0.00           0.00     0.00   0.00
3681870    607168AY7     MOBILE ALA INDL DEV BRD SOLID WSTE DISP RV REF-MOBILE ENERGY 6.95% 01/01/2020 607168AY7    0.0100   25.0000   25.0000   0.0100   1.0000   USD   1.0000      195,294.00      48,823.50      48,823.50    0.00        9,294.00       2,323.50       2,323.50    0.00   0.00
3BBZCT2     64999BJL9    NEW YORK N Y CITY INDL DEV AGY SPL FAC REV NORTHWEST AIRLINES 6% 06/01/2027 64999BJL9      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000      500,000.00          0.00           0.00     0.00      500,000.00          0.00           0.00     0.00   0.00
5C98570     62936EAF5    NPV VI INC 1998-2 HEALTH CARE RCVBLES NT 6.10% 5/1/2004 62936EAF5                          0.0000    0.1250    0.1250   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     7,000,000.00      8,750.00       8,750.00    0.00   0.00
5368394     629377AL6    NRG ENERGY INC BONDS-DEFAULT 8.6250% 04/01/2031 629377AL6                                  0.0000    0.2300    0.2300   0.0100   1.0000   USD   1.0000    63,600,000.00    146,280.00     146,280.00    0.00    56,400,000.00    129,720.00     129,720.00    0.00   0.00
5310622    629377AG7     NRG ENERGY INC DEFAULT 8.25% 09/15/2010 629377AG7                                          0.0000    0.2300    0.2300   0.0100   1.0000   USD   1.0000    23,850,000.00     54,855.00      54,855.00    0.00    21,150,000.00     48,645.00      48,645.00    0.00   0.00
5368395    629377AK8     NRG ENERGY INC NOTES-DEFAULT 7.75% 04/01/2011 629377AK8                                    0.0000    0.2300    0.2300   0.0100   1.0000   USD   1.0000    23,850,000.00     54,855.00      54,855.00    0.00    21,150,000.00     48,645.00      48,645.00    0.00   0.00
5219666     629377AE2    NRG ENERGY INC SR NOTE 7.50% 06/01/2009 629377AE2                                          0.0000    0.2300    0.2300   0.0100   1.0000   USD   1.0000    34,450,000.00     79,235.00      79,235.00    0.00    30,550,000.00     70,265.00      70,265.00    0.00   0.00
5075991    629377AD4     NRG ENERGY INC SR NOTE 7.50% 06/15/2007 629377AD4                                          0.0000    0.2300    0.2300   0.0100   1.0000   USD   1.0000    34,450,000.00     79,235.00      79,235.00    0.00    30,550,000.00     70,265.00      70,265.00    0.00   0.00
5BDDFC1    629ESC9Q9     NWA A SEN - ESCROW CUSIP - 2.30% 12/31/2049 629ESC9Q9                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00    20,000,000.00         0.00           0.00     0.00   0.00
5BDDFC4    629ESC9W6     NWA A SEN - ESCROW CUSIP - 2.39% 12/31/2049 629ESC9W6                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     2,000,000.00         0.00           0.00     0.00   0.00
5BDDFC3    629ESC9U0     NWA A SEN - ESCROW CUSIP - 2.52% 11/01/2004 629ESC9U0                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     6,500,000.00         0.00           0.00     0.00   0.00
5BDDFC2    629ESC9S5     NWA A SEN - ESCROW CUSIP - 5.52% 10/01/2007 629ESC9S5                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00    40,275,000.00         0.00           0.00     0.00   0.00
5BDDDY9    629ESC9B2     NWA A SEN - ESCROW CUSIP - 6.36% 03/01/2005 629ESC9B2                                      0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000           0.00           0.00           0.00     0.00    27,250,000.00         0.00           0.00     0.00   0.00
PPH/02     693344AA1     PHP HEALTHCARE CORPORATION SUB DEB CONV 144A 6.5% 12/15/2002 693344AA1                     0.0000    0.0000    0.0000   1.0000   1.0000   USD   1.0000           0.00           0.00           0.00     0.00     1,000,000.00         0.00           0.00     0.00   0.00
5002347    693344AC7     PHP HEALTHCARE CORPORATION SUB DEB CV 6.50% 12/15/2002 693344AC7                           0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    18,301,000.00         0.00           0.00     0.00     1,500,000.00         0.00           0.00     0.00   0.00
5395354    G7111WAA1     PIV INVESTMENT FINANCE CV REG S-DEFAULT 4.50% 12/01/2049 G7111WAA1                         0.0000    7.0000    7.0000   0.0100   1.0000   USD   1.0000    26,310,000.00   1,841,700.00   1,841,700.00   0.00     1,040,000.00     72,800.00      72,800.00    0.00   0.00
5470166   CH0007054015   POLLY PECK EURO #53800 -SF-"DEFAULT" 6% 12/31/2010                                         0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000    29,165,000.00    145,825.00     145,825.00    0.00          0.00            0.00           0.00     0.00   0.00
5478587   CH0007054742   POLLY PECK EURO #55857 "DEFAULT" 5.75% 12/31/2010                                          0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000    28,240,000.00    141,200.00     141,200.00    0.00    21,145,000.00    105,725.00     105,725.00    0.00   0.00
5018341   CH0007067793   POLLY PECK INTERNATIONAL "DEFAULT" 8.75% 01/03/2010                                        0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000    10,815,000.00     54,075.00      54,075.00    0.00       10,000.00         50.00          50.00     0.00   0.00
5446758   XS0015080673   POLLY PECK INTL EURO #62976-*IN DEFAULT* 7.25% 01/04/2005 G71536AG4                        0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000     8,975,000.00     44,875.00      44,875.00    0.00          0.00            0.00           0.00     0.00   0.00
5225032   CH0007054304   POLLY PECK INTL FINANCE LTD 6.25% 11/19/1990                                               0.0000    0.5000    0.5000   0.0100   1.0000   USD   1.0000    23,420,000.00    117,100.00     117,100.00    0.00      995,000.00       4,975.00       4,975.00    0.00   0.00
5494069   DE0004837372   POLLY PECK INTL FINANCE-DM EURO #55888 CPN 6% 04/20/2010                                   0.0000    0.4300    0.4300   0.0100   1.0000   USD   1.0000    25,242,000.00    108,540.60     108,540.60    0.00     7,000,000.00     30,100.00      30,100.00    0.00   0.00
5173374    78649QAA3     SAFETY KLEEN SERVICES INC SR SUB NOTE- IN DEAULT 9.25% 06/01/2008 78649QAA3                0.0000    0.0000    0.0000   0.0100   1.0000   USD   1.0000    34,270,000.00         0.00           0.00     0.00    30,820,000.00         0.00           0.00     0.00   0.00
5216675     81375BAJ1    SECURITIZED MULTIPLE ASSET RATED TR 1997-5 ASSET BACKED 7.72% 06/15/2005 81375BAJ1         0.0000    0.0010    0.0010   0.0100   1.0000   USD   1.0000    27,850,000.00       278.50         278.50     0.00          0.00            0.00           0.00     0.00   0.00
5245527    81375BAK8                                                           08-13555-mg Doc 45573-18
                         SECURITIZED MULTIPLE ASSET RATED TR 1997-5ASSET BACKED 7.056% 03/15/2005 81375BAK8
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                         SECURITIZED MULTIPLE ASSET SERIES 1997-6 CL A-1 7.71% 11/15/2006 81375BAM4
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5237126     784123AF8    SFC NEW HLDGS INC SR SUB NT 13.25% 08/15/2003 784123AF8                                    0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000     7,000,000.00          0.00            0.00            0.00        17,530,050.00          0.00            0.00            0.00                0.00
5563864     836153AC0    SOURCE MEDIA INC SR SECD NTS 12.00000 11/01/2049 836153AC0                                 0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000     4,876,944.00          0.00            0.00            0.00         5,000,000.00          0.00            0.00            0.00                0.00
SSMR        867833600    SUNSHINE MNG & REFNG COMPANY PAR %0.01                                                     0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000    11,483,635.00          0.00            0.00            0.00         5,999,544.00          0.00            0.00            0.00                0.00
5070867     292689AC0    TXU - ENERGY GROUP OVERSEAS BV GTD NOTES 7.375% 10/9/98 7.425% 10/15/2017 292689AC0       32.7500 20.0000 20.0000     0.0100   1.0000   USD   1.0000    18,880,000.00    3,776,000.00    3,776,000.00          0.00        18,255,000.00    3,651,000.00    3,651,000.00          0.00                0.00
5071495    292689AD8     TXU - ENERGY GROUP OVERSEAS BV GTD NT 7.55% 10/15/2027 292689AD8                          32.7500 20.0000 20.0000     0.0100   1.0000   USD   1.0000    30,633,000.00    6,126,600.00    6,126,600.00          0.00        21,450,000.00    4,290,000.00    4,290,000.00          0.00                0.00
5264525     873169AJ5    TXU EASTERN FUNDING CO GTD SR NOTE 6.75% 05/15/2009 873169AJ5                              0.0000   4.0000  4.0000    0.0100   1.0000   USD   1.0000     8,650,000.00     346,000.00      346,000.00           0.00        10,167,000.00     406,680.00      406,680.00           0.00                0.00
5264215     873169AF3    TXU EASTERN FUNDING GTD SR NT- IN DEFAULT 6.45000 05/15/2005 873169AF3                     0.0000   4.0000  4.0000    0.0100   1.0000   USD   1.0000     4,037,000.00     161,480.00      161,480.00           0.00          815,000.00       32,600.00       32,600.00           0.00                0.00
5261756    92326YAF6     VENTURE HOLDINGS TRUST *IN DEFAULT* 11.00000 12/31/2049 92326YAF6                          0.0000   0.1250  0.1250    0.0100   1.0000   USD   1.0000    11,475,000.00      14,343.75       14,343.75           0.00        10,575,000.00      13,218.75       13,218.75           0.00                0.00
5102085    92326YAD1     VENTURE HOLDINGS TRUST SR NOTE SER B 9.50% 07/01/2005 92326YAD1                            0.0000   0.1250  0.1250    0.0100   1.0000   USD   1.0000     7,125,000.00       8,906.25        8,906.25           0.00         7,125,000.00       8,906.25        8,906.25           0.00                0.00
VIAHF       G93447111    VIATEL HOLDING BERMUDA LIMITED NEW                                                         1.0000   1.0000  1.0000    1.0000   1.0000   USD   1.0000         187.00          187.00          187.00            0.00             164.00          164.00          164.00            0.00                0.00
5726350    93934WAA3     WASHINGTON MUT PFD FDG TR I PERPETUAL 144A *IN DEFAULT* 6.534% 12/29/2049 93934WAA3       10.1880   0.0000  0.0000    0.0100   1.0000   USD   1.0000     5,980,000.00          0.00            0.00            0.00         7,020,000.00          0.00            0.00            0.00                0.00
WAMPQ       939322814    WASHINGTON MUTUAL INC 7.75% SERIES R NON CUM PERPETUAL CONV PREFERRED STOCK              285.0000 0.0000    0.0000    1.0000   1.0000   USD   1.0000        5,520.00           0.00            0.00            0.00            6,480.00           0.00            0.00            0.00                0.00
5002385     960080AB5    WESTFED HOLDINGS INC MNT SER DEB SPLT CPN 15.50% 09/15/2049 960080AB5                      0.0000   0.0000  0.0000    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00            1,000.00           0.00            0.00            0.00                0.00
5042652     978093AE2    WOLVERINE TUBE INC SENIOR NOTE SER B 10.50% 04/01/2009 978093AE2                          92.0000 85.0000 85.0000     0.0100   1.0000   USD   1.0000      966,000.00      821,100.00      821,100.00           0.00          241,000.00      204,850.00      204,850.00           0.00                0.00
C010314     125127159    WTS CD RADIO INC EXP 5/15/2009 ACCREDITED INVS                                             0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000       18,000.00           0.00            0.00            0.00              0.00             0.00            0.00            0.00                0.00
ICGCW       449246115    WTS ICG COMMUNICATIONS INC                                                                 0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000       11,911.00           0.00            0.00            0.00            7,054.00           0.00            0.00            0.00                0.00
W003885     94769A119    WTS WEBLINK WIRELESS EXP PENDING 2012                                                      0.0000   0.0000  0.0000    1.0000   1.0000   USD   1.0000      201,455.00           0.00            0.00            0.00          134,303.00           0.00            0.00            0.00                0.00
5322253    55376WAD1     MTS INC SR SUB NOTE 9.375% 03/19/2009 55376WAD1                                            0.0000   4.5000  4.5000    0.0100   1.0000   USD   1.0000     4,036,450.00     181,640.25      181,640.26           0.01         2,610,135.00     117,456.08      117,456.08           0.00                0.01
5955774   CH0001188025   SASEA HOLDINGS 3.25% 10/01/2042                                                            0.0000   1.1800  1.1800    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00           17,100.00         201.78          208.79            7.01                7.01
5C58202    393505YC0     GREENTREE FINANCIAL CORPORATION MTGPC/SERIES 7.75% 03/15/2028 393505YC0                    0.0000   0.0056  0.0056    0.0100   1.0000   USD   1.0000      795,000.00          44.63           79.50           34.87          680,000.00          38.18           68.00           29.82               64.69
5273066    195204AA0     COLO.COM SR NOTE 144A - IN DEFAULT 13.875% 03/15/2010 195204AA0                            0.0000   0.0082  0.0082    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         4,293,000.00        354.07          429.30           75.23               75.23
5C48250    393505UY6     GREEN TREE FINL CORP SER 1997-4 MFD HSG SR/SUB 7.73% 02/15/2029 393505UY6                  0.0000   0.0056  0.0056    0.0100   1.0000   USD   1.0000     4,644,999.00        261.43          464.50          203.07         3,956,000.00        222.66          395.60          172.94              376.01
5258646   CH0001129714   MAXWELL COMMUNICATIONS VAR RATE LIQUID 5% 12/31/2050                                       0.0000   1.0500  1.0500    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         1,897,324.00      19,921.90       20,614.54         692.64              692.64
5127481   XS0045549812   MAXWELL COMMUN 8.375% 09/01/2030                                                           0.0000   0.4500  0.4500    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         7,943,000.00      35,743.50       37,285.67        1,542.17           1,542.17
5054115   DE0004115027   MAXWELL COMMUNICATIONS EURO DEBS 0% 06/15/2049 G59024AF9                                   0.0000   0.3100  0.3100    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00        16,459,000.00      51,022.90       52,852.07        1,829.17           1,829.17
5463379   CH0001207908   SAIRGROUP *IN DEFAULT* 5.125% 03/01/2003 H83970AX33                                       10.1559 10.2564 10.2564     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00          115,000.00       11,794.87       14,336.46        2,541.59           2,541.59
5445610     U29302AJ2    ENRON CORP EURO DEB 0.97% 12/31/2049 U29302AJ2                                             0.0000   0.0140  0.0140    0.0100   1.0000   USD   1.0000   213,000,000.00      29,820.00       32,134.41        2,314.41       87,000,000.00      12,180.00       13,125.32         945.32            3,259.73
5573732    717113AA2     PHAR-MOR INC SR NOTE-DEFAULTED 11.72% 09/11/2002 717113AA2                                 0.0000   0.7446  0.7446    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         1,884,000.00      14,028.53       18,840.00        4,811.47           4,811.47
5442794    29357YAD5     ENRON CREDIT LINKED NOTES TR STERLING$ CREDIT LINKED NOTE 7.25% 05/24/2006 29357YAD5       0.0000   1.0000  1.0000    0.0100   1.0000   USD   1.0000     1,000,000.00      10,000.00       19,998.54        9,998.54             0.00             0.00            0.00            0.00            9,998.54
5446359    U29302AG8     ENRON CORP DEFAULT 0.678% 12/31/2049 U29302AG8                                             0.0000   0.0140  0.0140    0.0100   1.0000   USD   1.0000   460,000,000.00      64,400.00       69,398.26        4,998.26      540,000,000.00      75,600.00       81,467.53        5,867.53          10,865.79
5478585   CH0007054882   POLLY PECK 5.625% 09/20/2049                                                               0.0000   0.5000  0.5000    0.0100   1.0000   USD   1.0000    15,535,000.00      77,675.00       84,680.52        7,005.52       27,855,000.00     139,275.00      144,131.86        4,856.86          11,862.38
5131393   CH0007055665   POLLY PECK INTL FINANCE CHF 6.25% 03/29/2049                                               0.1766   0.5000  0.5000    0.0100   1.0000   USD   1.0000    18,090,000.00      90,450.00       98,607.70        8,157.70       18,950,000.00      94,750.00       99,989.10        5,239.10          13,396.80
5271493   CH0000939394   SWISSAIR DEFAULTED 5.50% 07/23/2004                                                        0.0000  10.2600 10.2600    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00          750,000.00       76,950.00       93,498.66       16,548.66          16,548.66
5449494     H83970AJ4    SAIRGROUP 2.775% 09/10/2049 H83970AJ4                                                     10.1559 10.2564 10.2564     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         1,750,000.00     179,487.18      210,108.44       30,621.26          30,621.26
5BBQTY6    36186LAG8     GMACM HOME EQUITY LN TR SERIES 2007-HE2 CLASS A6 6.249% 12/25/2037 36186LAG8              46.2138 44.0000 44.0000     0.0100   1.0000   USD   1.0000     3,450,000.00    1,518,000.00    1,535,250.00      17,250.00        4,050,000.00    1,782,000.00    1,802,250.00      20,250.00          37,500.00
5461232   CH0001207569   SAIRGROUP ZUERICH VARIABLE RATE 4.125% 02/15/2013 H83970AU9                               10.9948 10.5600 10.5600     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         2,035,000.00     214,896.00      253,693.03       38,797.03          38,797.03
5262964    78442FDQ8     SLM CORP MEDIUM TERM NTS 3.06% 07/27/2009 78442FDQ8                                       94.5000 88.0000 88.0000     0.0100   1.0000   USD   1.0000     1,840,000.00    1,619,200.00    1,638,704.00      19,504.00        2,160,000.00    1,900,800.00    1,923,696.00      22,896.00          42,400.00
NWA         667280408    NORTHWEST AIRLS CORP                                                                       9.8500   9.8000  9.8500    1.0000   1.0000   USD   1.0000      416,436.00     4,101,894.60    4,122,716.40      20,821.80         445,643.00     4,389,583.55    4,411,865.70      22,282.15          43,103.95
5381485    125581AV0     CIT GROUP INC NEW SR NT 3.04938% 01/30/2009 125581AV0                                     97.7330 90.0940 90.0940     0.0100   1.0000   USD   1.0000     1,650,000.00    1,486,551.00    1,511,730.00      25,179.00        1,350,000.00    1,216,269.00    1,236,870.00      20,601.00          45,780.00
5574272    13135BAE6     CALPINE GENERATING CO 9.07% 04/01/2009 13135BAE6                                           0.0000   0.2500  0.2500    0.0100   1.0000   USD   1.0000    14,800,000.00      37,000.00       74,000.00       37,000.00        5,200,000.00      13,000.00       26,000.00       13,000.00          50,000.00
5BBQTZ6    36186LAB9     GMACM HOME EQUITY LN TR SERIES 2007-HE2 CLASS A2 6.054% 12/25/2037 36186LAB9              48.9240 49.0000 49.0000     0.0100   1.0000   USD   1.0000     3,523,920.00    1,726,720.80    1,761,960.00      35,239.20        4,429,080.00    2,170,249.20    2,214,540.00      44,290.80          79,530.00
5741989     247361VR6    DELTA AIR PTC 1990-G3 10.79% 09/26/2013 247361VR6                                         84.5000 25.5343 25.5343     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00        10,772,000.00    2,750,554.80    2,830,364.54      79,809.74          79,809.74
5252629   XS0103759089   S-AIR GROUP FIN 7.50% 11/15/2007                                                           0.0000   3.3150  3.3150    0.0100   1.0000   USD   1.0000     2,270,000.00      75,250.50      124,850.00       49,599.50        1,730,000.00      57,349.50       95,150.00       37,800.50          87,400.00
5666251     125568AB1    CIT GROUP FUNDING CO CDA SR NT 4.65% 07/01/2010 125568AB1                                 85.7500 65.0000 65.0000     0.0100   1.0000   USD   1.0000      550,000.00      357,500.00      486,640.00      129,140.00         450,000.00      292,500.00      398,160.00      105,660.00         234,800.00
5169833    963150AA5     WHEELING PITTSBURGH STL CORP SR SECD NT 6% 08/01/2010 963150AA5                           55.0000 97.0000 97.0000     0.0100   1.0000   USD   1.0000     6,705,304.00    6,504,144.88    6,705,304.00     201,159.12        2,274,859.00    2,206,613.23    2,274,859.00      68,245.77         269,404.89
5634664    125577AV8     CIT GROUP INC R/MD 5.09125      12/19/2008 2.72875% 12/19/2008 125577AV8                  98.6360 93.0000 93.0000     0.0100   1.0000   USD   1.0000     3,300,000.00    3,069,000.00    3,219,810.00     150,810.00        2,700,000.00    2,511,000.00    2,634,390.00     123,390.00         274,200.00
5435819   CH0003532998   SWISSAIR CORP ***IN DEFAULT 6.25% 04/12/2005                                               0.0000  10.2600 10.2600    0.0100   1.0000   USD   1.0000    10,000,000.00    1,026,000.00    1,313,311.99     287,311.99             0.00             0.00            0.00            0.00          287,311.99
5555517    247361VV7     DELTA AIR LINES INC DEL EQUIP TR CTF SER 1990 C 10.79% 03/26/2014 247361VV7               81.5000 34.1771 34.1771     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00         5,258,000.00    1,797,031.92    2,108,663.06     311,631.14         311,631.14
5725709     902549AE4    UAL CORP ORD SETTLEMENT BD 5% 02/01/2021 902549AE4                                        51.6250 42.8750 42.8750     0.0100   1.0000   USD   1.0000     2,300,000.00     986,125.00     1,129,990.00     143,865.00        2,700,000.00    1,157,625.00    1,326,510.00     168,885.00         312,750.00
5516264    G33365PB0     FCE BANK PLC EURO MEDIUM TERM NOTE 5.728% 09/30/2009 G33365PB0                           133.0467 121.0020 121.0020   0.0100   1.0000   USD   1.0000     7,000,000.00    8,470,140.00    8,802,990.00     332,850.00             0.00             0.00            0.00            0.00          332,850.00
5077083    755246AA3     READ RITE CORP CONV SUB NOTES 6.50% 09/01/2004 755246AA3                                   0.0000   0.6855  0.6855    0.0100   1.0000   USD   1.0000    10,350,000.00      70,951.64      414,000.00      343,048.36             0.00             0.00            0.00            0.00          343,048.36
5362572    04518GAB7     ASIA GLOBAL CROSSING LTD SR NT *IN DEFAULT* 13.375% 10/15/2010 04518GAB7                   0.0000   3.2890  3.2890    0.0100   1.0000   USD   1.0000    42,129,000.00    1,385,606.15    1,685,160.00     299,553.85       34,794,000.00    1,144,360.90    1,391,760.00     247,399.10         546,952.95
5259929    76113BAF6     RESIDENTIAL CAP CORP NT 6.375% 10 8.375% 06/30/2010 76113BAF6                             28.0000 22.0000 22.0000     0.0100   1.0000   USD   1.0000     2,663,000.00     585,860.00     1,384,760.00     798,900.00        2,337,000.00     514,140.00      853,005.00      338,865.00       1,137,765.00
5356646    370425RU6     GENERAL MOTORS ACCEPTANCE CORP GLOBAL NOTES 7.25% 03/02/2011 370425RU6                    71.0000 47.7500 47.7500     0.0100   1.0000   USD   1.0000     4,950,000.00    2,363,625.00    3,081,375.00     717,750.00        4,050,000.00    1,933,875.00    2,521,125.00     587,250.00       1,305,000.00
5239485     247367AE5    DELTA AIR PTC 1993-A1 9.875% 4/30/2008 247367AE5                                           0.0000   5.8213  5.8213    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00        12,000,000.00     698,557.21      469,025.89     (229,531.32)       (229,531.32)
5BBGFL9    37047ZBM0     GENERAL MOTORS ACCEPTANCE CORP OF CANADA LTD 4.72143% 05/22/2009 37047ZBM0                82.8457 73.0000 73.0000     0.0100   1.0000   USD   1.0000    13,535,000.00    9,880,550.00   11,240,627.37    1,360,077.37      14,590,000.00   10,650,700.00   12,116,790.05    1,466,090.05      2,826,167.42
5202379     247367AF2    DELTA AIRLINES INC DEL PASS THRU TRS PASS THRU CTF 10.5% 04/30/2016 247367AF2             46.5000 16.0982 16.0982     0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00        11,487,000.00    1,849,203.35    2,147,489.41     298,286.06         298,286.06
5850819    12668VAA7     CWHEQ HOME EQUITY LOAN TRUST MTGPC/SERIES 2006-S7 A-1-VAR 2.5513% 11/25/2035 12668VAA7    85.0263 32.1362 32.1362     0.0100   1.0000   USD   1.0000     4,600,000.00    1,478,263.29    1,200,524.57    (277,738.72)       5,400,000.00    1,735,352.56    1,409,311.46    (326,041.10)       (603,779.82)
5BCLLC0    69337YAE4     PHH MORTGAGE TRUST SER 2007-SL1 CLASS TAGS 144A 6.60% 12/25/2027 69337YAE4                80.3750 64.3846 64.3846     0.0100   1.0000   USD   1.0000    17,236,000.00   11,097,337.80   10,863,860.18    (233,477.62)      20,233,000.00   13,026,945.68   12,752,870.91    (274,074.77)       (507,552.39)
5183591     247367AC9    DELTA AIR LINES INC DEL PASS THRU TRS CTF 1992 B-1 9.375% 09/11/2017 247367AC9            94.7500   4.8706  4.8706    0.0100   1.0000   USD   1.0000          0.00             0.00            0.00            0.00        19,144,000.00     932,424.05      994,695.34       62,271.29          62,271.29
5F99267    76110VSQ2     RESIDENTIAL FDG MTG SECS II SERIES 2005-HS2 CLASS A-I-1 3.30688%12/25/2035 76110VSQ2      99.6291 12.7977 12.7977     0.0100   1.0000   USD   1.0000     8,947,000.00    1,145,006.57    1,062,271.50     (82,735.07)      10,503,000.00    1,344,138.15    1,247,014.37     (97,123.78)       (179,858.85)
                                                                                                                                                                                                                                 (80,523,963.34)                                                    (72,461,674.02) (152,985,637.36)
